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            EXHIBIT 1
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David S. Bridge (9077)
SCALLEY READING BATES
HANSEN & RASMUSSEN, P.C.
15 West South Temple, Suite 600
Salt Lake City, Utah 84101
Telephone: (801) 531-7870
E-mail: dbridge@scalleyreading.net

Attorney for Plaintiffs United Services Automobile Association;
USAA Casualty Insurance Company; and
Garrison Property and Casualty Insurance Company


      IN THE THIRD JUDICIAL DISTRICT COURT IN AND FOR SUMMIT COUNTY

                       SILVER SUMMIT DEPARTMENT, STATE OF UTAH


 UNITED SERVICES AUTOMOBILE                        FIRST AMENDED COMPLAINT FOR
 ASSOCIATION; USAA CASUALTY                             DECLARATORY RELIEF
 INSURANCE COMPANY; and GARRISON
 PROPERTY AND CASUALTY                                             TIER 2
 INSURANCE COMPANY,
                                                             Civil No. 180500346
         Plaintiffs,
                                                             Judge Kent Holmberg
 v.

 JAMES SEAVER and DEBORAH SEAVER,
 both individually and as parents and heirs of
 G.S., deceased; MATTHEW K. MOELLER
 and CARELLI MOELLER, both individually
 and as parents of P.M.; ROBERT
 AINSWORTH and GILLIAN AINSWORTH,
 both individually and as parents of J.A. and
 R.A.; THE ESTATE OF R.A.; and ROBERT
 AINSWORTH and/or GILLIAN
 AINSWORTH as Personal Representative for
 the Estate of R.A.,

        Defendants.
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       Plaintiffs, United Services Automobile Association; USAA Casualty Insurance Company;

and Garrison Property and Casualty Insurance Company (collectively hereinafter “Plaintiffs”), by

and through counsel of record, pursuant to Rule 57 of the Utah Rules of Civil Procedure and Utah

Code Ann. § 78B-6-408, files this Complaint For Declaratory Relief and complains and alleges

against Defendants James Seaver and Deborah Seaver, both individually and as parents and heirs

of G.S.; Matthew K. Moeller and Carelli Moeller, both individually and as parents of P.M.; Robert

Ainsworth and Gillian Ainsworth, both individually and as parents of J.A. and R.A.; the Estate of

R.A.; and Robert and/or Gillian Ainsworth as Personal Representative for the Estate of R.A.

(collectively hereinafter “Defendants”) as follows:

                                           PARTIES

       1.      United Services Automobile Association is a reciprocal interinsurance exchange with

its principal place of business in San Antonio, Texas authorized to conduct business in Utah.

       2.      USAA Casualty Insurance Company is a Texas corporation with its principal place

of business in San Antonio, Texas and authorized to conduct business in Utah.

       3.      Garrison Property and Casualty Insurance Company is a Texas corporation with its

principal place of business in San Antonio, Texas and authorized to conduct business in Utah.

       4.      James Seaver is an individual residing in Summit County, State of Utah.

       5.      Deborah Seaver is an individual residing in Summit County, State of Utah.

       6.      Matthew K. Moeller is an individual residing in Summit County, State of Utah.

       7.      Carelli Moeller is an individual residing in Summit County, State of Utah.




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         8.    P.M. is an individual residing in Summit County, State of Utah and the minor child

of Matthew K. Moeller and Carelli Moeller.

         9.    Robert Ainsworth is an individual residing in Summit County, State of Utah.

         10.   Gillian Ainsworth is an individual residing in Summit County, State of Utah.

         11.   J.A. is an individual residing in Summit County, State of Utah and the minor child

of Robert Ainsworth and Gillian Ainsworth.

         12.   R.A. is a deceased individual who last resided in Summit County, State of Utah and

the minor child of Robert Ainsworth and Gillian Ainsworth.

         13.    Upon information and belief, Robert Ainsworth and/or Gillian Ainsworth are the

Personal Representatives of the Estate of R.A., an estate in Summit County, State of Utah.

                                 JURISDICTION AND VENUE

         14.    Jurisdiction is proper in this Court pursuant to Utah Code Ann. § 78A-5-102(1) and

§ 78B-6-401.

         15.   Venue is proper in this County pursuant to Utah Code Ann. § 78B-3-304 and § 78B-

3-307.

                                               TIER

         16.   Inasmuch as Plaintiffs seek declaratory relief (non-monetary relief) this case qualifies

as Tier 2 for standard discovery purposes under Rule 26 of the Utah Rules of Civil Procedure.

                                  GENERAL ALLEGATIONS

I.       The Policies




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       17.     On or about October 27, 2015, United Services Automobile Association issued to

Matthew K. Moeller, as named insured, a Homeowners Policy No. USAA 00445 71 35 95A, which

had a policy period from 9/16/15 to 9/16/16 and a $500,000 limit per occurrence. Carelli Moeller

and P.M. may also be considered insureds under this policy. A true and correct copy of this policy

is attached hereto as Exhibit “A” and is incorporated herein by reference. This policy contains the

following language:

               SECTION II - LIABILITY COVERAGES
               Coverage E - PERSONAL LIABILITY
               If a claim is made or a suit is brought against any “insured” for
               “damages” because of “bodily injury” or “property damage”
               caused by an “occurrence” to which this coverage applies, we
               will:
                        1.     Pay up to our limit of liability for the “damages”
                               for which the “insured” is legally liable; and
                        2.     Provide a defense at our expense by counsel of
                               our choice, even if the suit is groundless, false or
                               fraudulent. We may investigate and settle any
                               claim or suit that we decide is appropriate. Our
                               duty to settle or defend ends when the amount
                               we pay for “damages” resulting from an
                               “occurrence” equals our limit of liability. This
                               coverage does not provide defense to any
                               “insured” for criminal prosecution or
                               proceedings. We will not pay for punitive
                               damages or exemplary damages, fines or
                               penalties.
               ****
               SECTION II - EXCLUSIONS
               1.       Coverage E - Personal Liability and Coverage F -
                        Medical Payments to Others do not apply to “bodily
                        injury” or “property damage”:
                        a.     Which is reasonably expected or intended by any
                               “insured” even if the resulting “bodily injury” or
                               “property damages”:
                               (1)    Is of a different kind, quality or degree


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                                     than initially expected or intended; or
                              (2)    Is sustained by a different person, entity,
                                     real or personal property, than initially
                                     expected or intended.
               ****
                      j.      Arising out of the use, sale, manufacture,
                              delivery, transfer or possession by any person of
                              a controlled substance(s). Controlled substances
                              include but are not limited to cocaine, LSD,
                              marijuana and all narcotic drugs. However, this
                              exclusion does not apply to the legitimate use of
                              prescription drugs by a person following the
                              orders of a licensed physician.
               ****
                      n.      Arising out of or caused by the commission of,
                              attempting to flee from, or avoiding apprehension
                              for a criminal act for which intent is a necessary
                              element.
               ****
               2.   Coverage E - Personal Liability does not apply to:
               ****
                    g.   punitive or exemplary damages, fines, or
                         penalties.

       18.     On or about July 24, 2016, United Services Automobile Association issued to

Matthew K. Moeller, as named insured, an Umbrella Policy No. USAA 00445 71 35 7OU,

which had a policy period from 7/24/16 to 7/24/17 and $1,000,000 limit per occurrence. Carelli

Moeller and P.M. may also be considered insureds under this policy. A true and correct copy of

this policy is attached hereto as Exhibit “B” and is incorporated herein by reference. This policy

contains the following language:

               LIABILITY COVERAGES

               INSURING AGREEMENT
               A.   Damages.
                    1.   We will pay for damages, in excess of the
                         retained limit, that an insured becomes legally

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                  obligated to pay because of bodily injury or
                  property damage resulting from an occurrence.
            2.    We will pay for damages that an insured
                  becomes legally obligated to pay because of
                  personal injury.
     B.     Defense
            1.    If a claim is made or a suit is brought against any
                  insured for bodily injury or property damage
                  arising from an occurrence to which this policy
                  applies, we will provide a defense at our choice,
                  even if the suit is groundless, false or fraudulent.
                  However, we will not provide a defense:
                  a.       To any insured for criminal prosecution
                           or proceedings; or
                  b.       If the occurrence or offense is covered
                           by underlying insurance or any other
                           liability insurance available to any
                           insured.
     ****
            3.     We have the right, but not the duty, to join with
                   any insured or with the insurer providing
                   underlying insurance in the investigation,
                   defense or settlement of any claim or suit, or in
                   any alternative dispute resolution process, which
                   may require us to pay.
     ****
     EXCLUSIONS
     ****
     A.     This insurance does not apply to:
     ***
            3.     Punitive or exemplary damages, fines or
     penalties.
     ***
     E.     This insurance does not apply to bodily injury or
     property damage:
            1.     Caused by the intentional or purposeful acts of
     any insured that would be expected by any reasonable person
     to result in bodily injury or property damage. This applies
     even if the resulting bodily injury or property damage:
                   a.      Is of a different kind, quality or degree
                           than initial expected or intended; or


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                              b.      Is sustained by a different person, entity,
                                      real property or personal property than
                                      initially expected or intended.
               ****
               G.             This insurance does not apply to bodily injury,
                              property damage or personal injury:
               ****
                      7.      Arising out of a criminal act or omission by, or
                              with either the knowledge or consent of, any
                              insured.
               ****
                      14.     Arising out of the use, sale, manufacture,
                              delivery, transfer or possession by any person of
                              controlled substance(s). Controlled substances
                              include but are not limited to cocaine, LSD,
                              marijuana and all narcotic drugs.
                              This exclusion (G.14.) does not apply to the
                              extent that liability coverage is provided by
                              underlying insurance and is not excluded
                              elsewhere in this policy.

       19.     On or about May 24, 2016, USAA Casualty Insurance Company issued to Gillian

M. Ainsworth and Robert J. Ainsworth, as named insureds, a Homeowners Policy No. CIC

00235 34 64 96A, which had a policy period from 5/24/16 to 5/24/17 and a $300,000 limit per

occurrence. J.A., R.A, and the Estate of R.A. may also be considered insureds under this policy.

A true and correct copy of this policy is attached hereto as Exhibit “C” and is incorporated

herein by reference. This policy contains the following language:

               SECTION II - LIABILITY COVERAGES
               Coverage E - PERSONAL LIABILITY
               If a claim is made or a suit is brought against any “insured” for
               “damages” because of “bodily injury” or “property damage”
               caused by an “occurrence” to which this coverage applies, we
               will:
                        1.    Pay up to our limit of liability for the “damages”
                              for which the “insured” is legally liable; and
                        2.    Provide a defense at our expense by counsel of

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                  our choice, even if the suit is groundless, false or
                  fraudulent. We may investigate and settle any
                  claim or suit that we decide is appropriate. Our
                  duty to settle or defend ends when the amount
                  we pay for “damages” resulting from an
                  “occurrence” equals our limit of liability. This
                  coverage does not provide defense to any
                  “insured” for criminal prosecution or
                  proceedings. We will not pay for punitive
                  damages or exemplary damages, fines or
                  penalties.
     ****
     SECTION II - EXCLUSIONS
     1.   Coverage E - Personal Liability and Coverage F -
          Medical Payments to Others do not apply to “bodily
          injury” or “property damage”:
          a.     which is reasonably expected or intended by any
                 “insured” even if the resulting “bodily injury” or
                 “property damages”:
                 (1)     Is of a different kind, quality or degree
                         than initially expected or intended; or
                 (2)     Is sustained by a different person, entity,
                         real or personal property, than initially
                         expected or intended.
     ****
          j.     Arising out of the use, sale, manufacture,
                 delivery, transfer or possession by any person of
                 a controlled substance(s). Controlled substances
                 include but are not limited to cocaine, LSD,
                 marijuana and all narcotic drugs. However, this
                 exclusion does not apply to the legitimate use of
                 prescription drugs by a person following the
                 orders of a licensed physician.
     ****
          n.     Arising out of or caused by the commission of,
                 attempting to flee from, or avoid apprehension
                 for a criminal act for which intent is a necessary
                 element.
     ****
     2.   Coverage E - Personal Liability does not apply to:
     ****
          g.     punitive or exemplary damages, fines, or

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                              penalties.

       20.     On or about March 4, 2016, USAA Casualty Insurance Company issued to Robert

Ainsworth, as named insured, an Umbrella Policy No. CIC 00235 34 64 71U, with a policy

period from 3/4/16 to 12/7/16 and a $3,000,000 limit per occurrence. J.A., R.A., and the Estate

of R.A. may also be considered insureds under this policy. A true and correct copy of this policy

is attached hereto as Exhibit “D” and is incorporated herein by reference. This policy contains

the following language:

               LIABILITY COVERAGES
               INSURING AGREEMENT
               A.    Damages.
                     1.    We will pay for damages, in excess of the
                           retained limit, that an insured becomes legally
                           obligated to pay because of bodily injury or
                           property damage resulting from an occurrence.
                     2.             We will pay for damages that an insured
                                    becomes legally obligated to pay because
                                    of personal injury.
               B.    Defense
                     1.    If a claim is made or a suit is brought against any
                           insured for bodily injury or property damage
                           arising from an occurrence to which this policy
                           applies, we will provide a defense at our choice,
                           even if the suit is groundless, false or fraudulent.
                           However, we will not provide a defense:
                           a.       To any insured for criminal prosecution
                                    or proceedings; or
                           b.       If the occurrence or offense is covered
                                    by underlying insurance or any other
                                    liability insurance available to any
                                    insured.
               ****
                     3.    We have the right, but not the duty, to join with
                           any insured or with the insurer providing
                           underlying insurance in the investigation,


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                  defense or settlement of any claim or suit, or in
                  any alternative dispute resolution process, which
                  may require us to pay.
     ****
     EXCLUSIONS
     ****
     A.   This insurance does not apply to:
     ****
          3.     Punitive or exemplary damages, fines or
                 penalties.
     ****
     E.   This insurance does not apply to bodily injury or
          property damage:
          1.     Caused by the intentional or purposeful acts of
                 any insured that would be expected by any
                 reasonable person to result in bodily injury or
                 property damage. This applies even if the
                 resulting bodily injury or property damage:
                 a.      Is of a different kind, quality or degree
                         than initial expected or intended; or
                 b.      Is sustained by a different person, entity,
                         real property or personal property than
                         initially expected or intended.
     ****
     G.   This insurance does not apply to bodily injury,
          property damage or personal injury:
     ****
          7.     Arising out of a criminal act or omission by, or
                 with either the knowledge or consent of, any
                 insured.
     ****
          14.    Arising out of the use, sale, manufacture,
                 delivery, transfer or possession by any person of
                 controlled substance(s). Controlled substances
                 include but are not limited to cocaine, LSD,
                 marijuana and all narcotic drugs.
                 This exclusion (G.14.) Does not apply to the
                 extent that liability coverage is provided by
                 underlying insurance and is not excluded
                 elsewhere in this policy.



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       21.     On or about June 17, 2016, Garrison Property and Casualty Insurance Company

issued to Gillian Ainsworth, as named insured, a Renters Policy No. GAR 01326 75 75 REN

001, with a policy period from 6/17/16 to 6/17/17 and a $300,000 liability limit. J.A., R.A., and

the Estate of R.A. may also be considered insureds under this policy. A true and correct copy of

this policy is attached hereto as Exhibit “E” and is incorporated herein by reference. This policy

contains the following language:

                              RENTERS PROTECTION POLICY
                                    -PERSONAL LIABILITY-
               PERSONAL LIABILITY describes the protection you have
               against liability arising out of your residence and your personal
               activities.
               ****
               LIABILITY
               If a claim is made or a suit is brought against an insured for
               damages because of bodily injury or property damage
               caused by an occurrence to which this coverage applies:
                       We will:
                               1.      pay up to our limit of liability for the
                                       damages for which the insured is legally
                                       liable; and
                               2.      provide a defense at our expense by
                                       counsel of our choice, even if the suit is
                                       groundless, false or fraudulent. We may
                                       investigate and settle any claim or suit
                                       that we decide is appropriate.
                               Our duty to settle or defend ends when the
                               amount we pay equals our limit of liability for
                               PERSONAL LIABILITY.
                       “Occurrence” means an accident including continuous
                       or repeated exposure to substantially the same general
                       harmful conditions, which results, during the policy
                       period, in:
                                                      bodily injury; or
                                                      property damage.
               ****
               LIABILITY AND MEDICAL PAYMENTS EXCLUSIONS

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           1.     LIABILITY and MEDICAL PAYMENTS TO
                  OTHERS do not apply to bodily injury or
                  property damage:
                  a.    which is expected or intended by the
                        insured;
     ****
     LIABILITY
     LIABILITY is deleted and replaced by the following:
           If a claim is made or a suit is brought against an
           insured for damages because of bodily injury or
           property damage caused by an occurrence to which
           this coverage applies, we will:

           1.     pay up to our limit of liability for the damages for
                  which the insured is legally liable; and
           2.     provide a defense at our expense by counsel of
                  our choice, even if the suit is groundless, false or
                  fraudulent. We may investigate and settle any
                  claim or suit that we decide is appropriate. Our
                  duty to settle or defend ends when the amount
                  we pay or tender for damages resulting from an
                  occurrence equals our limit of liability. This
                  coverage does not provide defense to any
                  insured for criminal prosecution or proceedings.

                  Occurrence means an accident, including
                  continuous or repeated exposure to substantially
                  the same general harmful conditions, which
                  results, during the policy period, in:
                  a.     bodily injury; or
                  b.     property damage.
                  We will not pay for punitive damages or
                  exemplary damages, fines or penalties.

     LIABILITY AND MEDICAL PAYMENTS EXCLUSIONS
           Item 1.a. is deleted and replaced by:
                  a.     caused by the intentional or purposeful
                         acts of any insured, including conduct
                         that would reasonably be expected to
                         result in bodily injury to any person or
                         property damage to any property.


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               ****
                      Under 1. the following exclusions are added:
                      1.    arising out of the use, sale, manufacture,
                            delivery, transfer or possession by any person of
                            a controlled substance(s). Controlled substances
                            include but are not limited to cocaine, LSD,
                            marijuana and all narcotic drugs. However, this
                            exclusion does not apply to the legitimate use of
                            prescription drugs by a person following the
                            orders of a licensed physician.
               ****
                      5.      arising out of the commission of, attempting to
                              flee from, or avoiding apprehension for a criminal
                              act for which intent is a necessary element.

               LIABILITY EXCLUSIONS
                     Under 2. the following exclusion is added:
                     1.    punitive or exemplary damages, fines, or
                           penalties.

       22.     On or about June 17, 2016, Garrison Property and Casualty Insurance Company

issued to Gillian Ainsworth, as named insured, an Umbrella Policy No. CIC 01326 75 75 7OU,

with a policy period from 6/17/16 to 6/17/17 and a $3,000,000 liability limit. J.A., R.A., and the

Estate of R.A. may also be considered insureds under this policy. A true and correct copy of this

policy is attached hereto as Exhibit “F” and is incorporated herein by reference.

       23.     This policy contains the following language:

               LIABILITY COVERAGES
               INSURING AGREEMENT
               A.    Damages.
                     1.   We will pay for damages, in excess of the
                          retained limit, that an insured becomes legally
                          obligated to pay because of bodily injury or
                          property damage resulting from an occurrence.
                     2.   We will pay for damages that an insured
                          becomes legally obligated to pay because of
                          personal injury.

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     B.     Defense
            1.    If a claim is made or a suit is brought against any
                  insured for bodily injury or property damage
                  arising from an occurrence to which this policy
                  applies, we will provide a defense at our choice,
                  even if the suit is groundless, false or fraudulent.
                  However, we will not provide a defense:
                  a.       To any insured for criminal prosecution
                           or proceedings; or
                  b.       If the occurrence or offense is covered
                           by underlying insurance or any other
                           liability insurance available to any
                           insured.
     ****
            3.     We have the right, but not the duty, to join with
                   any insured or with the insurer providing
                   underlying insurance in the investigation,
                   defense or settlement of any claim or suit, or in
                   any alternative dispute resolution process, which
                   may require us to pay.
     ****
     EXCLUSIONS
     ****
     A.   This insurance does not apply to:
     ****
          3.     Punitive or exemplary damages, fines or
                 penalties.
     ****
     E.   This insurance does not apply to bodily injury or
          property damage:
          1.     Caused by the intentional or purposeful acts of
                 any insured that would be expected by any
                 reasonable person to result in bodily injury or
                 property damage. This applies even if the
                 resulting bodily injury or property damage:
                 a.      Is of a different kind, quality or degree
                         than initial expected or intended; or
                 b.      Is sustained by a different person, entity,
                         real property or personal property than
                         initially expected or intended.
     ****


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                G.      This insurance does not apply to bodily injury,
                        property damage or personal injury:
                ****
                        7.      Arising out of a criminal act or omission by, or
                                with either the knowledge or consent of, any
                                insured.
                ****
                        14.     Arising out of the use, sale, manufacture,
                                delivery, transfer or possession by any person of
                                controlled substance(s). Controlled substances
                                include but are not limited to cocaine, LSD,
                                marijuana and all narcotic drugs.
                                This exclusion (G.14.) Does not apply to the
                                extent that liability coverage is provided by
                                underlying insurance and is not excluded
                                elsewhere in this policy.

        24.     The above described policies of insurance are hereinafter collectively referred to

as the “Policies”.

II.     The Underlying Lawsuit

        25.     James Seaver and Deborah Seaver, as parents and heirs of G.S., deceased filed a

civil Complaint against Matthew K. Moeller and Carelli Moeller, both individually and as

parents of P.M.; Robert Ainsworth and Gillian Ainsworth, both individually and as parents of

J.A. and R.A. in Third Judicial District Court of Summit County, Silver Summit Department,

State of Utah Civil No. 180500150, (the “Underlying Lawsuit”). A copy of the Complaint in the

Underlying Lawsuit is attached hereto as Exhibit “G”.

        26.     Plaintiffs have provided a defense to Defendants in the Underlying Lawsuit under

a full reservation of rights.

        27.     This action concerns whether or not Plaintiffs have a duty to indemnify or defend

Defendants against the claims in the Underlying Lawsuit.

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28.   The Complaint in the Underlying Lawsuit states in relevant part:

      III.    FACTUAL ALLEGATIONS
              10.      This civil action is the result of the death of G.S., a
      13 year-old boy, on September 11, 2016.
              11.      G.S.’s death was caused by ingesting the drug U-
      47700, also known by the slang term “Pinky” or “Pink.”
              12.      U-47700 is a "super-strong synthetic opioid. "
              13.      U-4770 was created as a research chemical by
      chemist Jacob Szmuszkovicz and originally "intended to treat
      severe pain associated with cancer, surgery, or injury, but was
      never tested on humans and ended up being relegated to research."
              14.      Unfortunately, "Szmuszkovicz's patent remained
      publicly available with detailed instructions on how to produce U-
      47700 leading drug labs in China and elsewhere to whip up and
      sell batches of the sought-after opioid."
              15.      Upon information and belief, U-47700's
      recreational popularity grew as misinformation spread, including
      though internet social communities like Reddit, that the drug
      caused similar feelings as other opioids, like oxycodone or heroin,
      but was relatively unknown to law enforcement and DEA
      scheduling.
              16.      If U-47700 is manufactured to the exact
      specifications of the patent, "it is said to be about seven and half
      times the strength of morphine."
              17.      The following persons played a role in procuring
      the U-47700 ingested by G.S. on September 11, 2016 and/or
      distributing it to G.S. (the "Drug"): C.S. (son of Defendants
      Edward Shapard and Michelle Shapard), J.A. and R.A (sons of
      Defendants Robert Ainsworth and Gillian Ainsworth), and P.M.
      (Daughter of Defendants Karl and Kelli Moeller).
              18.      In September 2016, C.S. (son of Defendants
      Edward Shapard and Michelle Shapard), J.A. (son of Defendants
      Robert Ainsworth and Gillian Ainsworth), P.M. (daughter of
      Defendants Karl and Kelli Moeller), were 10th graders at Park
      City High School (PCHS).
              19.      C.S., J.A., and P.M., were friends.
              20.      C.S. and J.A together purchased the Drug on the
      "dark web".
              21.      At the time that C.S. and J .A purchased the Drug,
      the Drug was not listed as a Schedule I controlled substance.


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             22.     On November 14, 2016, the U.S. Drug Enforcement
     Administration listed the U-47700 as a Schedule I controlled
     substance making it illegal to manufacture, purchase, distribute, or
     possess U-47700.
             23.     U-47700 should have been a Schedule I controlled
     substance when it was purchased by C.S and J.A. from China since
     it is many times more potent than morphine and caused numerous
     deaths during 2016.
             24.     Based upon information on the internet, from sites
     such as Reddit and others on the dark web, at the time C.S and J.A.
     purchased the Drug from China, they both knew that it was
     extremely dangerous. The kids of all Defendant parents understood
     that the reason U-47700 was also known as "pink" or "pinky" was
     because ingesting more than a pinky nail of U-47700 could kill a
     person.
             25.     J.A. is the older brother to R.A. who was in G.S.'s
     school class at Treasure Mountain Junior High School (TMJHS)
     located in or around Park City, Utah.
             26.     As C.S. and J.A. were both older than G.S. and RA,
     they used this advantage in supplying the younger boys with U-
     47700, despite their knowledge that the drug was abnormally
     dangerous.
             27.     Upon information and belief, R.A. began using
     opioids during the spring of 2015 and, before G.S.'s death, R.A.
     would suffer from symptoms of withdrawal if he could not obtain a
     regular supply of U-47700.
             28.     R.A.’s parents, Defendant Robert and Gillian
     Ainsworth (the "Ainsworths"), knew or should have known that
     both J.A. and R.A. were using U-47700, and that R.A. was using
     enough U-47700 that he was addicted to it, but the Defendant
     Ainsworths failed to notify anyone of his addiction, including law
     enforcement or parents of R.A.'s friends.
             29.     During May 2016, law enforcement investigated
     J.A. and R.A. for supplying drugs to a 12-year old girl who, after
     ingesting the drugs, required emergency medical treatment.
             30.     The Defendant Ainsworths knew or should have
     known that J.A. and R.A. had supplied drugs to a 12-year old girl,
     but they failed to notify anyone of the investigation, including law
     enforcement or parents of R.A's friends.




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             31.      Many months before G.S.'s death, Defendant
     Ainsworths and Shapards knew that their sons, R.A, J.A, and C.S.
     were obtaining drugs from the Internet.
             32.      Many months before the death of G.S., Defendant
     Gillian Ainsworth knew that J.A. and RA were bringing in
     abnormally dangerous drugs from China when staying with
     Defendant Robert Ainsworth.
             33.      A GoPro video obtained by police after G.S.'s death
     discloses a conversation between G.S. and R.A where they discuss
     the fact that the Defendant parents discovered a $2,000 shipment
     of drugs from China and threw the drugs into the garbage.
             34.      The Defendant parents failed to notify anyone,
     including law enforcement, parents, and school officials that they
     had discovered the $2,000 shipment of Chinese drugs.
             35.      On September 13, 2016, law enforcement received
     approval on two search warrants for the residences of C.S.'s
     parents, Defendants Edward and Michelle Shapard.
             36.      As part of the search warrants, law enforcement
     seized some computers. From one of the computers recovered from
     the search warrants, law enforcement located information on the
     computer indicating that C.S. had been searching the "dark web"
     and had been on at least one "dark web" marketplace,
     "alphabay.net," which sold, among other things, illicit drugs
     including U-47700.
             37.      On July 20, 2017, the Department of Justice
     announced the takedown of the dark web market AlphaBay. From
     his Department of Justice's press release, Attorney General Jeff
     Sessions stated:
             (1)      It knew of several Americans who were killed by
                      drugs sold on Alpha Bay;
             (2)      One victim was just 18 years old when, in February,
                      she overdosed on a powerful synthetic opioid,
                      which she had bought on AlphaBay. The drug was
                      shipped right to her house through the mail;
             (3)      A little more than a week after her death, a victim in
                      Orange County, Florida, died of an overdose from a
                      drug bought on AlphaBay;
             (4)      And then there was G.S.. He was only 13 years old
                      and a student at Treasure Mountain Junior High in
                      Park City, Utah when he passed away after



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                                overdosing on a synthetic opioid that had been
                                purchased by a classmate on AlphaBay.
                       38.      From searching the computers obtained from the
               search warrants, law enforcement also discovered evidence on the
               computer indicating that C.S. had probably purchased bitcoin
               through at least two bitcoin exchanges - Coinbase and Paxful.
                       39.      When C.S., J.A, and RA., purchased the Drug, they
               shipped it to P.M. and not their homes because their parents knew
               that they were ordering drugs from China.
                       40.      In early September 2016, more than a week before
               G.S.'s death, Matthew K. Moeller and Carelli Moeller (the
               ''Moellers") discovered a box in P.M.'s closet in which Chinese
               drugs purchased by C.S., R.A., and J.A. were shipped to P.M.
                       41.      The Moellers failed to notify anyone that they had
               discovered the box used to ship Chinese drugs to P.M., including
               law enforcement or the parents of P.M.'s friends.
                       42.      On September 11, 2016, G.S. died as a result of
               ingesting the Drug that had been purchased and/or distributed to
               him by C.S., J.A, R.A, and P.M.
                       43.      On September 13, 2016, while at the house, and
               under the supervision, of Defendant Robert Ainsworth, R.A. died
               as a result of ingesting the same Drug that had been purchased
               and/or distributed to G.S. by C.S., R.A, J.A, and P.M., and that had
               killed G.S. two days prior.

Complaint at pp. 3-9, Exhibit “G.”

       29.     The Complaint in the Underlying Lawsuit alleges causes of action of (1)

negligence, (2) negligent supervision, (3) negligent misrepresentation, and (4) abnormally

dangerous activity - strict liability. See Complaint at pp. 9-15, Exhibit “G”.

       30.     The Complaint in the Underlying Lawsuit alleges punitive damages. See

Complaint at pp. 16-18, Exhibit “G”.

                          ACTION FOR DECLARATORY RELIEF




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       31.     Plaintiffs incorporate all allegations contained in the foregoing paragraphs of this

Complaint as though fully set forth herein.

       32.     An actual dispute and controversy has arisen between Plaintiffs and Defendants

regarding whether there is coverage available under the Policies for the claims raised in the

Underlying Lawsuit.

       33.     There is no coverage for the Underlying Lawsuit due to expected and intended

exclusions under the Policies.

       34.     There is no coverage for the Underlying Lawsuit due to the controlled substance

exclusions under the Policies.

       35.     There is no coverage for the Underlying Lawsuit due to the criminal acts

exclusions under the Policies.

       36.     There is no coverage for the Underlying Lawsuit due to the punitive damages

exclusions under the Policies.

       37.     Based on the foregoing, a judicial determination is necessary and appropriate at

this time to determine the respective rights of Plaintiffs and Defendants under the Policies.

       38.     Pursuant to Rule 57 of the Utah Rules of Civil Procedure and Utah Code Ann. §

78B-6-408, Plaintiffs request a declaration from this court that:

               a.      There is no coverage for the Underlying Lawsuit due to expected and

                       intended exclusions under the Policies.

               b.      There is no coverage for the Underlying Lawsuit due to the controlled

                       substance exclusions under the Policies.


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       c.     There is no coverage for the Underlying Lawsuit due to the criminal acts

              exclusions under the Policies.

       d.     There is no coverage for the Underlying Lawsuit due to the punitive

              damages exclusions under the Policies.

       e.     As coverage is precluded, Plaintiffs have not duty to defend or indemnify

              Defendants for the Underlying Lawsuit.

       f.     As coverage is precluded, Defendants have no right of recovery against

              Plaintiffs for the Underlying Lawsuit.

                             PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for the following relief:

1.     A declaration that:

       a.     There is no coverage for the Underlying Lawsuit due to expected and

              intended exclusions under the Policies.

       b.     There is no coverage for the Underlying Lawsuit due to the controlled

              substance exclusions under the Policies.

       c.     There is no coverage for the Underlying Lawsuit due to the criminal acts

              exclusions under the Policies.

       d.     There is no coverage for the Underlying Lawsuit due to the punitive

              damages exclusions under the Policies.

       e.     As coverage is precluded, Plaintiffs have not duty to defend or indemnify

              Defendants for the Underlying Lawsuit.


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             f.     As coverage is precluded, Defendants have no right of recovery against

                    Plaintiffs for the Underlying Lawsuit.

      2.     For Plaintiff’s attorneys’ fees and costs incurred herein.

      3.     For such other and further relief as the Court deems just and proper.

      DATED this 13th day of August, 2018.

                                                   SCALLEY READING BATES
                                                   HANSEN & RASMUSSEN, P.C.

                                                       /s/ David S. Bridge
                                                   David S. Bridge
                                                   Attorneys for Plaintiffs United Services
                                                   Automobile Association; USAA Casualty
                                                   Insurance Company; and Garrison Property
                                                   and Casualty Insurance Company



Plaintiffs’ Addresses:
9800 Fredericksburg Road
San Antonio, Texas 78288




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                                                                         USAA 00445 71 35 70U
                                                                                                  JUM1392
                                                                                                    00000
                                                                                                  DM00000

                                     UMBRELLA POLICY PACKET




     MATTHEW KARL MOELLER                                                        June 18, 2016
     LT COL USAF RET
     6006 FAIRVIEW DR
     PARK CITY UT 84098-6137



     Effective: 07/24/2016 to 07/24/2017
     USAA 00445 71 35 70U

                                            Important Messages

     Refer to your Declarations Page and endorsements to verify that coverage, limits and other policy
     details are correct and meet your insurance needs. Required information forms are also enclosed
     for your review.

     Please read the enclosed document, “Make Sure Coverage is Adequate: Review Umbrella Exposures
     and Check Policy” for details on updating your policy information.




  This is not a bill. Any premium charge or return for this policy will be reflected on your next regular
 monthly statement. To receive this document and others electronically or to view your policy summary
              online, go to usaa.com. You may also contact us at 1-800-531-USAA (8722).
PU-CS (07-09)                                                                                   89855-0709
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           Make Sure Coverage is Adequate: Review Umbrella Exposures and Check Policy

        Our mission is to help you protect your financial future and hard-earned assets with the
        right umbrella coverage. This is why we’re recommending that you periodically review your
        umbrella exposures, coverage, dollar limits and endorsements and make any necessary
        policy updates.
        Your policy coverage should reflect the current circumstances of your household, including
        driver information, as well as vehicle, property or watercraft ownership. To determine if you
        have adequate umbrella policy protection, please review the enclosed:
            •   Declarations Page — the required coverage, limits and endorsements are listed.
            •   Supplemental Declarations Page — you’ll find your umbrella exposures, coverage
                and limits here.
        If an umbrella policy change is necessary, please call us at 1-800-531-USAA (8722). Call us
        at 00-800-531-81110 from Europe (00-800-11-005-4316 from Greece).
        Your other policies may also need updating
        If an umbrella coverage change is needed, updates to other policies may also be necessary.
        Call us at the number above if there’s been a change to the licensed drivers who reside in
        your household. You should also call us if the information for the vehicles, properties and
        watercraft listed on the umbrella policy Supplemental Declarations Page is incorrect or has
        changed.
        Thank you for choosing USAA and taking a moment to make this important policy review.




UMBDV (11-10)                                                                                  94325-1110
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                         UNITED SERVICES AUTOMOBILE ASSOCIATION                                  DM00000
                             (A Reciprocal Interinsurance Exchange)
                       9800 Fredericksburg Road, San Antonio, Texas 78288
                  PERSONAL UMBRELLA POLICY DECLARATIONS - Renewal


 Policy Number: USAA 00445 71 35 70U
                                                        Effective: From 07/24/2016 to 07/24/2017
                                              (12:01 A.M. standard time at Umbrella Base Location)

Named Insured and Mailing Address:                                           Limit               Premium
MATTHEW KARL MOELLER                                                     (per occurrence)
LT COL USAF RET
6006 FAIRVIEW DR                                    Umbrella Liability      $1,000,000            $295.56
PARK CITY UT 84098-6137
                                                                                   Total         $295.56
Umbrella Base Location:
6006 Fairview Dr                                                         PREMIUM DUE AT INCEPTION
Park City, Summit, UT 84098



                            SCHEDULE OF UNDERLYING INSURANCE
TYPE OF INSURANCE                                 REQUIRED MINIMUM LIMITS
                                       Bodily Injury    Property      Combined Single
                                                         Damage  OR       Limit
Private Passenger Vehicle Liability    $300,000/$500,000         $100,000     OR            $500,000
Miscellaneous Vehicle Liability        $250,000/$500,000         $100,000     OR            $500,000
Personal Liability                                                                          $300,000
Watercraft/Pers Watercraft Liability                                                        $300,000

USAA requires you to maintain NO LESS THAN the above REQUIRED MINIMUM LIMITS.
See the Required Minimum Insurance Condition in your policy.

Please verify your actual limits and exposures on the attached Supplemental
Declarations.

ENDORSEMENTS:
   Added: NONE
   Remain in Effect (Refer to Previous Policy) - PU-100UT (09-10), PU-2009 (07-09), PU-2011
   (04-11)

INFORMATIONAL FORMS - UMBDV (11-10)




In WITNESS WHEREOF, the Subscribers at UNITED SERVICES AUTOMOBILE ASSOCIATION have
caused these presents to be signed by their Attorney-in-Fact on this date 06/18/2016.




Laura Bishop
President, USAA Reciprocal Attorney-in-Fact, Inc.
                                                                                               89853-0513
PU2009D (05-13)                                                                                 Page 1 of 1
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                                                                                 USAA 00445 71 35 70U




                              PERSONAL UMBRELLA POLICY
                                Supplemental Declarations

Effective:
From 07/24/2016 to 07/24/2017
(12:01 a.m. standard time at Umbrella Base Location)

Your Umbrella premium is based in part on the following. The limits shown below represent the
lowest policy limits carried.

Please contact us if any changes are needed.

                           DESCRIPTION OF KNOWN EXPOSURES

Motor Vehicles (Includes Private Passenger and Miscellaneous Vehicles):
      Lowest Coverage Limit(s): $300,000/$500,000/$100,000

2008 FORD ESCAPE
2014 INFINITI QX60 4D 4X4
2014 JEEP G.CHER

Properties/Residences:
      Lowest Coverage Limit: $500,000

6006 Fairview Dr, Park City, Summit, UT 84098




SUPPDECU (07-09)                                                                       89854-0709
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    EXHIBIT E
                                                                                                 PAGE     1
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                                  RENTERS POLICY PACKET

                                                                      GAR    01326 75 75 REN 001
                                                           EFFECTIVE: 06-17-15 TO: 06-17-16

GILLIAN AINSWORTH
PO BOX 982072
PARK CITY UT 84098-2072

                                  IMPORTANT MESSAGES
Attached   are your policy documents and other    information you   may find   helpful concerning your
insurance coverages and premiums. Please take a few minutes to review them, and then file them with
your policy records.


 1) USAA considers many factors when determining your premium.              A history of claim
    activity will affect your policy premium.




THIS IS NOT A BILL.          A n y premium charge o r return f o r this policy w i l l b e reflected on
your next regular monthly statement.
RECEIVE THIS DOCUMENT AND OTHERS ELECTRONICALLY. SIGN UP AT            usaa.com.
FOR U.S. CALLS:        POLICY SERVICE 1-800-531-8722.      CLAIMS 1-800-531-8722.
                Thank you for letting us serve you. We appreciate your business.
RPCS1                                                                                     64831-0907
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                 CaseGARRISON   PROPERTYDocument
                      2:18-cv-00720-JNP  AND CASUALTY    INSURANCE
                                                 2-1 Filed           COMPANY
                                                           09/12/18 Page 142 of 226
                                                                                                            MAIL MACH-I
                                9800 Fredericksburg Road - San Antonio, Texas 78288
                                  RENTERS PROTECTION POLICY DECLARATIONS
   The Policy is complete only when the following are combined: Policy Packet (Part One), Declarations Page (Part Two),
      GENERAL PROVISIONS and when purchased, PERSONAL PROPERTY and/or PERSONAL LIABILITY.
                                                    PART TWO
Named Insured and Basing Address                                                        Policy Number
 GILLIAN AINSWORTH                                                                      GAR     01326 75 75 REN 001
 5479 LUGE LN
 PARK CITY, UT 84098-7620
 COUNTY: SUMMIT


POLICY PERIOD: FROM 06/17/15         TO 06/17/16           (12:01 A.M. Standard Time at location of the property described)

PERSONAL PROPERTY                                                                                     Premium
DEDUCTIBLES                                                        Limit of Liability
We cover only that part of the loss over the deductible stated.
  OTHER PERILS                       $       250                    $     10,000                            $98.36
  EARTHQUAKE                         $     1,500
PERSONAL LIABILITY
            Coverages                                              Limit of Liability
LIABILITY                                   Each Occurrence         $   300,000                             $49.97
 MEDICAL PAYMENTS TO OTHERS                 Each Person             $     5,000
OPTIONAL COVERAGES




TOTAL ANNUAL PREMIUM                                                                                    $148.33
 PREMIUM DUE AT INCEPTION. THIS IS NOT A BILL. STATEMENT TO FOLLOW.

Forms and endorsement(s) made a part of this policy at time of issue or amendment.
  ESA (0205), R-IDF (0703), R-MCOVUT (0609), R-UT (1006), R-20 (0486)
  RP-MLD (0803), RP-1 (0486), RP-3 (0486), RP-6 (0486)



Loss Payable Clause: Loss, if any, will be paid to you and




as interests may appear.


In WITNESS WHEREOF, this policy is signed on         06/16/15




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                         GARRISON PROPERTY AND CASUALTY INSURANCE COMPANY
                              RENTERS PROTECTION POLICY DECLARATIONS

              Policy Number                Policy Term:   06/17/15     06/17/16
      GAR     01326 75 75 REN 001                          Inception   Expiration




YOUR PREMIUM HAS BEEN REDUCED BY THE FOLLOWING CREDITS AND DISCOUNTS:
AUTO/RENTERS COMBINATION                                       $16.48
CLAIMS FREE DISCOUNT                                           $46.84




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                                                                            GAR      01326 75 75           REN 001
The Easy Reading RENTERS PROTECTION POLICY
QUICK REFERENCE
           DECLARATIONS PAGE                                                            Part One
           - Your Name And Mailing Address                 This Policy is not complete unless it is issued with Declarations
           - Policy Period                                 (Part Two) and GENERAL PROVISIONS.
           - PERSONAL PROPERTY (If purchased)
             Limit of Liability                                                 POLICY SUMMARY
             Deductible
                                                              This is a legal contract between you, the policyholder and us,
           - PERSONAL LIABILITY (If purchased)
                                                           your insurer. And like other contracts, it contains certain duties
             Limit of Liability
                                                           and responsibilities of both parties to the contract.
           - OPTIONAL COVERAGES
                                                             Optional coverages you have purchased will be shown on the
 Beginning GENERAL PROVISIONS                              Declarations Page with appropriate premium. These coverages are
 on Page     (4 Pages)                                     subject, however, to those limitations and restrictions explained
  GP-1       Agreement                                     in the policy.
  GP-1       Definitions                                     If you have purchased PERSONAL PROPERTY coverage, the
  GP-3       Policy Period                                 RENTERS PROTECTION policy insures most of the personal
  GP-3       Cancellation and Non-Renewal                  possessions you - and others listed on GP-1, GENERAL
           PERSONAL PROPERTY (If Purchased)                PROVISIONS - own. The causes of loss or damage to personal
             (10 Pages)                                    property which this policy insures against are specifically
                                                           identified and further explained where necessary.
   PP-1      Property Covered                                If you have purchased PERSONAL LIABILITY coverage, this
   PP-1      Deductible                                    policy provides financial protection when you are held liable for
   PP-2      Property Not Covered                          damage to the property of others or for injury to others - both
   PP-3      Causes of Loss Covered                        on and off your property.
   PP-4      Causes of Loss Not Covered
                                                              The Quick Reference will help you readily locate parts of the
           ADDITIONAL PERSONAL PROPERTY                    policy to which you wish to refer.
           COVERAGES                                          We have tried to make this policy easy to read and
   PP-5      Moving and Storage                            understand. But should you need clarification on some point, we
   PP-6      Food Spoilage                                 will be glad to provide it.
   PP-6      Lock Replacement
   PP-6      Loss of Use                                         United Services Automobile Association
                                                                  (A Reciprocal Interinsurance Exchange)
           PERSONAL PROPERTY CONDITIONS
                                                           In your policy these sets of words have the same meaning:
   PP-8      Insurable Interest                            Policy means Contract; You and your means the Subscriber and
   PP-8      Duties After Loss                             the spouse when a resident of the same household; We, us, our,
   PP-9      Loss Settlement                               USAA, Company, Reciprocal or Interinsurance Exchange means
   PP-10     Other Insurance                               United Services Automobile Association; Premium means Deposit;
           PERSONAL LIABILITY (If Purchased. Not           Attorney-in-Fact means USAA Reciprocal Attorney-in-Fact, Inc.
             (7 Pages)             applicable in Texas.)   If this policy is issued by United Services Automobile
   PL-1      Liability                                     Association ("USAA"), a reciprocal interinsurance exchange, the
   PL-1      Medical Payments to Others                    following apply:
   PL-1      Exclusions                                        B By purchasing this policy you are a member of USAA and
           ADDITIONAL PERSONAL LIABILITY                          are subject to its bylaws.
           COVERAGES                                           B This is a non-assessable policy. You are liable only for
   PL-4      Claim Expense                                        the amount of your premium as USAA has a free surplus
   PL-5      Damage to Property of Others                         in compliance with Article 19.03 of the Texas Insurance
   PL-5      Damage to Government Housing                         Code of 1951, as amended.
                                                               B This is a participating policy. You are entitled dividends
           PERSONAL LIABILITY CONDITIONS                          as may be declared by the USAA Board of Directors.
   PL-6      Limit of Liability                              B The USAA Board of Directors may annually allocate a
   PL-6      Duties After Loss                                 portion of USAA's surplus to subscriber's accounts.
   PL-7      Other Insurance                                   Amounts allocated to such accounts remain a part of
                                                               USAA's surplus and may be used as necessary to
                                                               support the operations of the Association. A member
                                                               shall have no right to any balance in the member's
                                                               account except until following termination of
                                                               membership, as provided in the bylaws.

                                                                                                       65256-0812_03
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                                       RENTERS PROTECTION POLICY
                                        - GENERAL PROVISIONS -


GENERAL PROVISIONS contains the definitions             and provisions that apply to this Policy. But    GENERAL
PROVISIONS applies only to the section for which        a premium is shown on the Declarations Page.




AGREEMENT                In return for your payment of premium and subject to the terms of this policy, we
                         will provide the insurance described.


                         The full limit of liability under this policy will be automatically reinstated after a
                         loss.




DEFINITIONS              To help you understand your Policy:


                         -    "We", "us", and "our" mean the company providing this insurance.


                         -    "You" and "your" mean the person named on the Declarations Page. We also
                              mean your spouse when a resident of your household.


                         In addition, certain words and phrases are defined as follows:


                         1.   "actual cash value"         means the replacement cost of the property at the time
                              of loss less a deduction for depreciation based on its age and usage.


                         2.   "bodily injury"       means bodily harm, sickness or disease, including required
                              care, loss of services and death that results.


                         3.   "business"       includes trade, profession or occupation.


                         4.   "insured"     means you and residents of your household who are:


                              a.   your relatives; or


                              b.   other persons under the age of 21 and in the care of any person named
                                   above.


                              Under   PERSONAL LIABILITY, "insured"           also means:


                              c.   with respect to animals or watercraft to which this policy applies, any
                                   person or organization legally responsible for these animals or watercraft
                                   which are owned by you or any person included in a. or b. above.


                                   A person or organization using or having custody of these animals or
                                   watercraft in the course of any     business   or without consent of the owner
                                   is not an   insured;

                              d.   with respect to any vehicle or conveyance to which this policy applies:


                                   (1) persons while engaged in your employ or that of any person included
                                      in a. or b. above; or


                                   (2) other persons using the vehicle on an          insured location   with your
                                      consent.

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                       5.   "insured location"     means:


                            a.   if your principal place of residence:


                                 (1) a one to four family residence; or


                                 (2) that part of any other building where you reside;


                            b.   the part of other premises, other structures and grounds used by you as
                                 another residence;


                            c.   any premises used by you in connection with a or b above;


                            d.   any part of a premises:


                                 (1) not owned by an    insured;   and


                                 (2) where an    insured   is temporarily residing;


                            e.   vacant land, other than farm land, owned by or rented to an        insured;

                            f.   land owned by or rented to an           insured   on which a one or two family
                                 dwelling is being built as a residence for an     insured;

                            g.   individual or family cemetery plots or burial vaults of an    insured;   or


                            h.   any part of a premises occasionally rented to an         insured   for other than
                                 business   use.


                       6.   "property damage"        means physical injury to, destruction of, or loss of use
                            of tangible property.


                       7.   "residence employee"       means:


                            a.   an employee of an    insured    whose duties are related to the maintenance or
                                 use of the place of residence, including household or domestic services;
                                 or


                            b.   one who performs similar duties elsewhere not related to the         business   of
                                 an   insured.



CONCEALMENT,           The entire policy is void if, whether before or after a loss, an       insured:
MISREPRESENTATION
OR FRAUD                    a.   intentionally conceals or misrepresents any material fact or circumstance;
                                 or


                            b.   makes false statements or engages in fraudulent conduct,


                       relating to this insurance.




LIBERALIZATION         If we adopt any revision which would broaden the coverage under this policy
CLAUSE                 without additional premium within 60 days prior to or during the policy period, the
                       broadened coverage will immediately apply to this policy.




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WAIVER OR              No waiver or change to the coverages stated in this policy may be made except
POLICY CHANGES         by us, in writing. Our request for an appraisal or examination will not waive any of
                       our rights.




CONFORMITY TO          Terms of this policy in conflict with written laws of the state in which the policy
STATUTE                is issued are changed to conform to such laws.




ASSIGNMENT             Assignment of this policy will not be valid unless we give our written consent.




RECOVERY FROM          a.   You must     assign to us your rights of recovery against persons causing
OTHERS                      damage or loss to your property for which a claim is paid. You need only
                            assign to us the amount of the claim paid.


                       b.   If an assignment is sought, you must sign and deliver all related papers and
                            cooperate with us.


                       c.   Recovery From Others does not apply to Medical Payments to Others or to
                            Damage to Property of Others under PERSONAL LIABILITY when it is a part
                            of the Policy.




POLICY PERIOD          This policy applies only to loss which occurs during the policy period.




CANCELLATION AND       Cancellation.
NON-RENEWAL
                       a.   You may cancel this policy at any time. But the effective date of cancellation
                            cannot be earlier than the date of your request.


                       b.   We may cancel this policy by notifying you in writing at least 30 days before
                            the date cancellation takes effect. This cancellation notice will be mailed to you
                            at your last known mailing address. Proof of mailing will be sufficient proof
                            of notice.


                       c.   When this policy is cancelled, the pro rata premium for the period from the
                            date of cancellation to the expiration date will be refunded.


                       d.   If the return premium is not refunded with the notice of cancellation or when
                            this policy is returned to us, we will refund it within a reasonable time after
                            the date cancellation takes effect.


                       e.   When you have not paid your premium, we may cancel at any time by mailing
                            to your last known address written notice at least 10 days before the date
                            cancellation takes effect.


                       Non-Renewal.
                       We may elect not to renew this policy. We may do so by mailing to you at your
                       last known mailing address, written notice at least 30 days before the expiration
                       date of this policy. Proof of mailing will be sufficient proof of notice.



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DEATH                 If the person named on the Declarations Page or the spouse, if a resident of the
                      same household, dies:


                      a.   we insure the legal representative of the deceased but only with respect to
                           the premises and property of the deceased covered under the policy at the
                           time of death;


                      b.   insured    includes:


                           (1) any member of your household who is an           insured   at the time of your
                              death; and


                           (2) with    respect    to your   property,   the person   having proper temporary
                              custody of the property until appointment and qualification of a legal
                              representative.




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                                         RENTERS PROTECTION POLICY
                      - BROAD PERSONAL PROPERTY WITH REPLACEMENT COST -

PERSONAL PROPERTY       describes the coverage you have in case of loss to your household goods and other
personal property.


PERSONAL PROPERTY       is not complete without       Parts One     and   Two   and   GENERAL PROVISIONS,             and is not in
effect unless a premium is shown for it on the Declarations Page.



PROPERTY                  Subject to the      PROPERTY NOT COVERED                provisions of this policy, we cover all
COVERED                   personal property, anywhere in the world, owned by:

                                ~   any insured;

                                ~   someone else when it is at your residence or in your custody.



DEDUCTIBLE                All covered losses are subject to the deductible shown on the Declarations Page,
                          except where otherwise stated in this policy.



DOLLAR LIMITS             The dollar limit shown below for each group is the most we will pay for a loss to
ON SOME                   one or more items in that group:
PROPERTY

1.   $3,000               For motorized golf carts and their equipment and accessories. But if, at the time of
                          loss, there is an automobile policy covering physical loss to golf carts, then this
                          policy does not apply to those golf carts and their equipment and accessories.


2. $2,500                 For   theft   of    silverware,    silver-plated      ware,   goldware,    gold-plated         ware    and
                          pewterware.


3. (a) $2,500             For   business     property at your residence.

     (b) $250             For   business     property away from your residence.


4. $2,000                 For theft of firearms and their equipment and accessories.


5. $1,000                 For theft of jewelry, watches, furs and precious and semi-precious stones.


6. $1,000                 For securities, accounts, deeds, evidences of debt, personal records, letters of
                          credit,   notes     other   than   bank     notes,   manuscripts,     passports,     airline   or    other
                          transportation      tickets,    stamps    including    postage       stamps,   and   other      philatelic
                          property.

                          This limit applies to these categories regardless of the medium.

                          This limit includes the cost to research, replace or restore the information from the
                          lost or damaged material.


7. $1,000                 For trailers not used with watercraft.


8. $1,000                 For watercraft including their trailers, their attached equipment and accessories and
                          outboard motors.


9. $200                   For   money,      bank   notes,    bullion,   gold    other   than   goldware,     silver    other    than
                          silverware, platinum, coins and medals.




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                                                                       GAR        01326 75 75             REN 001
PROPERTY NOT          The following are not covered by this policy:
COVERED
                      1.   Property separately described and specifically insured in whole or in part of
                           another policy.

                      2.   Aircraft and Parts. Aircraft means any contrivance used or designed for flight,
                           except model or hobby aircraft not used or designed to carry people or cargo.

                      3.   Animals, birds or fish.

                      4.   Building materials and supplies for construction, reconstruction or remodeling
                           of a building or structure.

                      5.   business     data including such data stored in:

                                a.    books of account, drawings or other paper records; or

                                b.    electronic   data   processing    tapes,    wires,     records,    discs   or   other
                                      software media.

                           But we will cover the cost of blank recording or storage media, and of
                           pre-recorded computer programs available on the retail market. The most we
                           will pay is the limit of liability for   business   property.

                      6.   Food stamps, gasoline coupons, and tokens.

                      7.   Motor vehicles or all other motorized land conveyances. This includes:

                           a.   equipment and accessories; or

                           b.   any    device or instrument for the transmitting, recording, receiving                  or
                                reproduction of sound or pictures which is operated by power from the
                                electrical   system       of   motor   vehicles    or      all   other   motorized     land
                                conveyances, including:

                                (1) accessories or antennas; or

                                (2) tapes, wires, records, discs or other media for use with any such
                                      device or instrument;

                           while in or upon the vehicle or conveyance.

                           We do cover vehicles or conveyances not subject to motor vehicle registration
                           which are:

                           a.   used to service an    insured's     residence or

                           b.   designed for assisting the handicapped.

                           We also cover motorized golf carts and their equipment and accessories,
                           subject to the DOLLAR LIMIT ON SOME PROPERTY.

                      8.   Property in the custody of a government mail or private mail or package
                           delivery service.

                      9.   Property rented to others or held for rental except property you leave in your
                           permanent residence when             you temporarily rent the residence.              And then,
                           money, securities, jewelry, watches, gems, precious or semi-precious stones,
                           and articles of gold, silver or platinum are not covered. Nor is any loss to your
                           covered property if caused by your tenant, his employee(s) or a member of his
                           household.

                    10.    Property of roomers, boarders, tenants or other residents. This exclusion does
                           not apply to property of those related to an insured or to property of a
                           residence employee.
                      There are other specific circumstances and conditions where the policy restricts or
                      excludes coverage. These are described under             CAUSES OF LOSS NOT COVERED,
                      where applicable.



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CAUSES OF LOSS          We insure for direct physical loss to covered property when caused by any one or
COVERED                 more of the following     CAUSES OF LOSS      and when not contributed to concurrently
                        or in any sequence by any cause or event excluded in              CAUSES OF LOSS NOT
                        COVERED.

                                                  DESCRIPTIONS AND LIMITATIONS


1.   FIRE AND
     LIGHTNING


2. WINDSTORM            An opening in the roof or wall must be made by the direct force of wind or hail
   OR HAIL              before we will cover damage due to rain, snow, sleet, sand or dust.



3. FLOOD AND            a.   Damage caused by flood, surface water, tidal wave, overflow of a body of
   WATER                     water, or spray from any of these, even if driven by wind, will be covered.

                        b.   Damage caused by water which backs up through sewers or drains will be
                             covered.

                        c.   Damage caused by accidental escape of water from plumbing, heating or air
                             conditioning    pipes, fixtures    or equipment   or   domestic   appliances    will   be
                             covered.

                        d.   We will not cover damage caused by gradual seepage of water through
                             building or basement walls, roofs, windows, doors, foundations or floors.



4. EARTHQUAKE           This includes land shock waves or tremors before, during or after a volcanic
                        eruption.

                        One or more earthquake shocks that occur within a seventy-two hour period will
                        constitute a single earthquake.



5. EXPLOSION


6. SMOKE                We   will   not   cover   smoke   damage    from   agricultural    smudging   or    industrial
                        operations.



7. AIRCRAFT             This includes self-propelled missiles and spacecraft.



8. VEHICLES


9. COLLAPSE OF          We will cover damage to covered personal property caused by collapse of a
   BUILDING             building or any part of the building.

10. THEFT               a.   Theft includes attempted theft, pilferage, larceny, burglary, robbery, holdup and
                             embezzlement. It also includes loss from a known place when it is likely the
                             property has been stolen.

                        b.   We will not cover property lost or misplaced.

11. VANDALISM           Property is covered against intentional and malicious damage.
    AND M A L I -
    CIOUS
    MISCHIEF

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12. RIOT AND
    CIVIL COMMOTION


13. FALLING OBJECTS      We do not cover loss to property contained in a building unless the roof or an
                         exterior wall of the building is first damaged by a falling object. Damage to the
                         falling object itself is not covered.



14. SUDDEN AND           We cover loss to a steam or hot water heating system, an air conditioning or
    ACCIDENTAL           automatic fire protective sprinkler system, or an appliance for heating water.
    TEARING
    APART,               This   CAUSE OF LOSS does not include                loss caused by or resulting from freezing
    CRACKING,            except as provided in
                                             FREEZING below.
    BURNING OR
    BULGING


15. FREEZING             We cover freezing loss to a plumbing, heating, air conditioning or automatic fire
                         protective sprinkler system or of a household appliance.

                         This   CAUSE OF LOSS               does not include loss at your place of residence while
                         unoccupied unless you have used reasonable care to:

                                a.     maintain heat in the building; or

                                b.     shut off the water supply and drain the system and appliances of water.



16. SUDDEN AND           Loss to a tube, transistor or like electronic component is not covered.
    ACCIDENTAL
    DAMAGE FROM
    ARTIFICIALLY
    GENERATED
    ELECTRICAL
    CURRENT


17. VOLCANIC             This does not include loss caused by earthquake, land shock waves or tremors.
    ERUPTION


CAUSES OF LOSS           We do not insure for loss caused directly or indirectly by any of the following.
NOT COVERED              Such        loss   is   excluded   regardless   of   any   other   cause   or   event   contributing
                         concurrently or in any sequence to the loss:

                         1.     ~      War.
                                ~      Undeclared war.
                                ~      Civil war.
                                ~      Insurrection.
                                ~      Rebellion.
                                ~      Revolution.
                                ~      Warlike act by a military force or military personnel.
                                ~      Destruction, seizure or use for a military purpose.

                                Nor is any consequence of these covered.

                                Discharge of a nuclear weapon will be deemed a warlike act, even if accidental.




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                      2.   Nuclear reaction, radiation or radioactive contamination. All whether controlled
                           or uncontrolled, however caused.

                           Nor is any consequence of these covered. Loss caused by these shall not be
                           considered loss caused by fire, explosion, or smoke. But we do cover direct
                           loss by fire resulting from nuclear reaction, nuclear radiation, or radioactive
                           contamination.

                      3.   Neglect of an       insured   to use all reasonable means to save and preserve the
                           property at and after the time of loss.

                      4.   Intentional loss, meaning any loss arising out of any act committed:

                           (a)   by or at the direction of an      insured;     and
                           (b) with the intent to cause a loss.

                      5.   Power failure, meaning the failure of power or other utility service if the
                           failure takes place off your premises. But if a covered loss ensues on your
                           premises, we will cover that ensuing loss.


THE FOLLOWING ARE ADDITIONAL COVERAGES.

MOVING AND            This additional coverage does not apply to any part of your property already in
STORAGE               transit    or   in storage    when this policy first becomes effective.              However, the
                      previously described         CAUSES OF LOSS COVERED              do apply to such property.

                      A.   MOVING AND STORAGE               begins when your property passes into the custody
                           of a public carrier, including United States government trucks, aircraft and
                           vessels, or a storage facility. It must be under a bill of lading, a mover's
                           contract, baggage check, or other form of shipping or storage document.

                           It ends when your property is delivered to your permanent or temporary
                           address      in   accordance     with   the    shipping     document.    Or   when   you   take
                           possession of your property from storage.

                      B.   In addition to the previously described  CAUSES OF LOSS COVERED                       there is
                           coverage under          MOVING AND STORAGE for:
                           1.    loss of your property if, when described under a bill of lading, mover's
                                 contract, baggage check, or other form of shipping or storage document, it
                                 cannot be located after a reasonable search.

                           2.    loss or damage caused by the stranding, sinking, overturning, crashing,
                                 ditching, derailment, burning or collision of a public conveyance.

                           3.    loss or damage caused by water, except as excluded in C. below.

                           4.    your share of general average and salvage charges. These charges do not
                                 change      the   amount   shown    on    the    Declarations   Page    for   PERSONAL
                                 PROPERTY.
                      C.   We will not cover loss or damage caused by:

                           1.    Breakage, marring, scratching or handling.

                           2.    Delay during shipment.

                           3.    Humidity or temperature changes.

                           4.    Mildew and mold.

                           5.    Inherent defect of the property.

                           6.    Insufficient packing or address.

                           7.    Insects, rodents and vermin.

                      D.   This coverage does not change the amount shown on the Declarations Page for
                           PERSONAL PROPERTY.
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FOOD SPOILAGE         We will pay you up to $500 for loss caused by power failure to the contents of a
                      freezer or a refrigerator that is at your residence. Item 5 under CAUSES OF LOSS
                      NOT COVERED does not apply to Food Spoilage.

                      This coverage does not change the amount shown on the Declarations Page for
                      PERSONAL PROPERTY.
                      No deductible applies to this coverage.



LOCK                  When the residence door keys are stolen in a covered theft loss, we will pay the
REPLACEMENT           cost to:

                           a.    change the combination in the lock cylinder of the door locks as needed; or

                           b.    change the lock hardware of the doors as needed.

                      The limit of liability for     LOCK REPLACEMENT            is $250.

                      This coverage does not change the amount shown on the Declarations Page for
                      PERSONAL PROPERTY.
                      No deductible applies to this coverage.



LOSS OF USE           LOSS OF USE           as described below has no limit.

                      1.   If a covered            loss to covered property or to the building containing the
                           property makes the place where you reside not fit to live in, we cover, at your
                           choice, either of the following:

                           a.    Additional Living Expense -               meaning any necessary increase in living
                                 expenses incurred by you to maintain your normal standard of living; or

                           b.    Fair Rental Value -         meaning the fair rental value of that part of the place
                                 where       you    reside   less   any   expenses   that do   not continue   while the
                                 premises is not fit to live in.

                                 However, if this residence is not your principal place of residence, we will
                                 not provide this option.

                           The amount we pay under a. or b. will be for the shorter of:

                                 ~     the period of time reasonably required to repair or replace the damage,
                                       or

                                 ~     the period of time needed to permanently settle your household in new
                                       quarters.

                      2.   If a covered loss makes that part of your residence rented to others or held
                           for rental by you not fit to live in, we cover the:

                                 Fair Rental Value -           meaning the fair rental value of that part of your
                                 residence rented to others or held for rental by you, less any expenses that
                                 do not continue while it is not fit to live in.

                           We will pay for the shortest time reasonably required to repair or replace that
                           part of your premises rented or held for rental.

                      3.   If a civil authority prohibits you from use of the place where you reside as a
                           result of direct damage to neighboring premises by a covered cause of loss,
                           we        cover   the    Additional Living Expense         or    Fair Rental Value   loss as
                           provided under 1 and 2 above, for no more than two weeks.

                      The limit for this coverage is in addition to the amount shown on the Declarations
                      Page for   PERSONAL PROPERTY.
                      The periods of time under 1, 2, and 3 above are not limited by expiration of the
                      policy.

                      We do not cover loss or expense due to cancellation of a lease or agreement.

                      No deductible applies to this coverage.

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BUILDING              We      cover         damage     from      a     covered    loss    to     building         improvements       or
ADDITIONS AND         installations made or acquired at your expense to that part of the residence used
ALTERATIONS           exclusively by you. The most we will pay is 10% of the amount for                                 PERSONAL
                      PROPERTY         as shown on the Declarations Page.

                      This   limit     is   in   addition   to   the   amount    shown     on    the    Declarations      Page       for
                      PERSONAL PROPERTY.

CREDIT CARD, FUND     We will pay up to $1,000 for:
TRANSFER CARD,
FORGERY AND           1.     an   insured's       legal duty to pay because of the theft or unauthorized use of
COUNTERFEIT                  credit cards issued to or registered in an              insured's   name.
MONEY
                      2.     loss resulting from theft or unauthorized use of a fund transfer card used for
                             deposit,       withdrawal      or   transfer   of   funds,   issued       to    or    registered   in   an
                             insured's      name.

                      3.     loss to an      insured    caused by forgery or alteration of any check or negotiable
                             instrument; and

                      4.     loss to an          insured    through acceptance in good faith of counterfeit United
                             States or Canadian paper currency.

                      We do not cover use of a credit card or fund transfer card:

                                  1.    by a resident of your household;

                                  2.    by a person who has been entrusted with either type of card; or

                                  3.    if an     insured    has not complied with all terms and conditions under
                                        which the cards are issued.

                      All loss resulting from a series of acts committed by any one person or in which
                      any one person is concerned or implicated is considered to be one loss.

                      We do not cover loss arising when the cards are used for                              business.   Nor do we
                      cover loss caused by dishonesty of anyone whose property is insured by this
                      policy.

                                  LEGAL DEFENSE

                                  1.    We may investigate and settle any claim or suit that we decide is
                                        appropriate. Our duty to defend a claim or suit ends when the amount
                                        we pay, offer or tender to a court for the loss equals the limit of
                                        liability for this coverage.

                                  2.    If a claim is made or a suit is brought against an      insured for liability
                                        under the     CREDIT CARD         or   FUND TRANSFER CARD coverage, we will
                                        provide a defense at our expense by counsel of our choice.

                                  3.    We have the option to defend at our expense an                      insured's bank against
                                        any suit for the enforcement of payment under the                     FORGERY coverage.
                                  4.    You must cooperate with us and provide us with any aid we require in
                                        settling a claim under this coverage.

                      No deductible applies to this coverage.

                      This coverage is additional insurance.


FIRE DEPARTMENT       We will pay up to $500 for fire department charges you must pay when the fire
SERVICE CHARGE        department is called to save or protect covered property. The loss must result from
                      one of the covered losses and you must have assumed the charges by contract or
                      by agreement.

                      No deductible applies to this coverage.

                      This coverage is additional insurance.

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REASONABLE            We will pay the reasonable cost incurred by you for needed repairs made solely to
REPAIRS               protect covered property from further damage from a covered loss.

                      This coverage does not change the limit of liability that applies to the damaged
                      property.



PROPERTY              We cover your property against direct loss from any cause while being removed
REMOVED               from a premises endangered by a covered loss, and for no more than 30 days while
                      removed.

                      This coverage does not change the limit of liability that applies to the property being
                      removed.



DEBRIS                We will pay the reasonable cost incurred by you to remove:
REMOVAL
                           a.   debris   of   covered    property     if   the   loss   is   from   a   covered    loss;   or

                           b.   ash, dust or particles from a volcanic eruption that causes direct loss to
                                covered property.

                      If the amount we must pay for the actual damage to your property plus the cost to
                      remove the debris is more than the limit of liability for the damaged property, an
                      additional 5% of that limit is available for debris removal expense.

                      This coverage does not change the limit of liability that applies to the damaged
                      property.


                                  PERSONAL PROPERTY CONDITIONS


INSURABLE             Even if more than one person has an insurable interest in the property covered, our
INTEREST              coverage in any one loss will be the lesser of:

                           a.   the amount of an    insured's   interest at the time of loss, or

                           b.   the applicable limit of liability.

                      If there is an accident or incident that may be covered by this policy you must do
                      the following:

DUTIES AFTER LOSS     1.   In the case of a loss by theft, vandalism, or malicious mischief, immediately
                           notify the police or military authority, whichever has jurisdiction over the
                           location where the loss occurred. Immediately notify the credit card or fund
                           transfer    card   company     in   case   of    loss   under     CREDIT CARD          or   FUND
                           TRANSFER CARD         coverage.

                      2.   Protect the property from further damage.

                      3.   Contact us as soon as possible and tell us as much as you can about the loss.
                           Give us the price and date of purchase, actual cash value and a complete
                           description of the article(s) involved.

                      4.   Submit a proof of loss when required by us.

                      5.   Send us receipts, appraisals or other proof of ownership or value. Tell us if
                           there is a lien on the property, and who holds it. You must tell us if there is
                           other insurance on the property.

                      6.   If required by us, you must show us the property and answer our questions
                           under oath about the loss or damage.

                      7.   You must tell us about the loss within 91 days after the loss is discovered.
                           Unless you are reasonably prevented from doing this, your claims will not be
                           accepted.


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SUIT AGAINST US       There is a time limit for bringing legal action against us concerning this policy. It
                      must be filed within two years after the loss occurs. You must also comply with all
                      policy provisions.


LOSS SETTLEMENT       We will pay the full cost of repair or replacement, subject to all policy provisions.
                      No deduction will be made for depreciation.

                      The value of the covered property is not agreed upon, but shall be set at the time
                      of loss or damage.

                      1.   It is our option to:

                           a.    replace, or pay you our cost to replace the property with new property of
                                 like kind and quality, without deduction for depreciation, or

                           b.    pay you the cost to repair or restore the property to the condition it was
                                 in just before the loss.

                      2.   The following property is not eligible for replacement cost loss settlement:

                           ~     items of rarity or antiquity that cannot be replaced;

                           ~     articles whose age or history contributes substantially to their value. These
                                 include but are not limited to, memorabilia, souvenirs and collectors' items;

                           ~     motorized golf carts and their equipment and accessories.

                           On losses to these items it is our option to:

                           a.    pay you the   actual cash value;   or

                           b.    replace, or to pay you our cost to replace the property with property of
                                 like kind, quality and condition; or

                           c.    pay you the cost to repair or restore the property to the condition it was
                                 in just before the loss.

                      3.   We will not pay more than the limit of liability shown on the Declarations Page
                           for   PERSONAL PROPERTY.         Nor more than any other limits stated in the policy.

                      4.   When the cost to repair or replace an item is more than $500, no more than
                           actual cash value      will be paid until repair or replacement is completed.

                           You may make a claim for loss on an actual cash value basis and then make
                           claim within 180 days after the loss for any additional liability.

                      5.   We will adjust all losses with you. We will pay you unless some other person is
                           named in the policy or is legally entitled to receive payment. Loss will be
                           payable 60 days after we receive your proof of loss and:

                           a.    we reach an agreement with you; or

                           b.    there is an entry of a final judgment; or

                           c.    there is a filing of an appraisal award with us.


PAIRS AND SETS        In case of loss of an article which is part of a pair or set, we will consider the
                      importance of the article in settling your claim fairly and reasonably.

                      We will not pay you for the loss of the entire pair or set because of the partial loss.


RECOVERED             If you or we recover any property for which we have made payment under this
PROPERTY              policy, you or we will notify the other of the recovery. Your choice will be to have
                      the property returned to or retained by you or it will become our property.

                      If the recovered property is returned to or retained by you, the loss payment will be
                      adjusted based on the amount you received for the recovered property.


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ABANDONMENT           You may not abandon property to us for any reason.



APPRAISAL             1.   If you and we do not agree on the amount of loss, either party can demand
                           that the amount of the loss be determined by appraisal.

                      2.   If either makes a written demand for appraisal, each will select a competent,
                           independent appraiser and notify the other of the appraiser's identity within 20
                           days of receipt of the written demand.

                           The two appraisers will then select a competent, impartial umpire. If the two
                           appraisers are not able to agree upon an umpire within 15 days, you or we can
                           ask a judge of a court of record in the state where the property is located to
                           select an umpire.

                      3.   The appraisers will then set the amount of the loss. If they submit a written
                           report of any agreement to us, the amount agreed upon will be the amount of
                           the loss. If they fail to agree within a reasonable time, they will submit their
                           differences to the umpire.

                           Written agreement signed by any two of these three will set the amount of the
                           loss. Each appraiser will be paid by the party selecting that appraiser.Other
                           expenses of the appraisal and the compensation of the umpire will be paid
                           equally by you and us.



PROPERTY HELD         We will not recognize any assignment to nor will we provide any coverage for the
BY OTHERS             benefit of anyone holding, storing or transporting your property for a fee.



OTHER INSURANCE       1.   If, at the time of loss:

                               a.   there is trip transit coverage in force, or

                               b.   there is coverage provided under our Personal Computer Endorsement

                           then this policy will apply only when that coverage has been exhausted.

                      2.   If there is insurance other than described above, payment under this policy will
                           be prorated on the basis of the total amount of insurance applying to the loss.

                      3.   Under    LOSS OF USE       the following applies to   Additional Living Expense:
                           We will share payment equally up to the limit of liability for similar coverage
                           provided by other insurance. Expense in excess of the limit in any other
                           insurance will be covered by this policy.




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                                              RENTERS PROTECTION POLICY
                                                 -PERSONAL LIABILITY-

PERSONAL LIABILITY          describes the protection you have against liability arising out of your residence and
your personal activities.

PERSONAL LIABILITY     is not complete without Parts One and Two               and GENERAL PROVISIONS           and is not in
effect unless a premium is shown for it on the Declarations Page.



LIABILITY                      If claim is made or suit is brought against an insured for damages because of
                               bodily injury or property damage caused by an occurrence to which this coverage
                               applies:

                               We will
                                    1. pay up to our limit of liability for the damages for which the       insured    is
                                       legally liable; and

                                    2. provide a defense at our expense by counsel of our choice, even if the suit
                                       is groundless, false or fraudulent. We may investigate and settle any claim or
                                       suit that we decide is appropriate.

                                         Our duty to settle or defend ends when the amount we pay equals our limit
                                         of liability for PERSONAL LIABILITY.

                               "Occurrence" means an accident, including continuous or repeated exposure to
                               substantially the same general harmful conditions, which results, during the policy
                               period, in:

                                            B bodily injury; or
                                            ~  property damage.


MEDICAL PAYMENTS               We will pay the necessary medical expenses that are incurred or medically
TO OTHERS                      ascertained within three years from the date of an accident causing bodily injury.
                               Medical expenses means reasonable charges for medical, surgical, x-ray, dental,
                               ambulance, hospital, professional nursing, prosthetic devices and funeral services.


                               This coverage does not apply to you or regular residents of your household except
                               residence employees. As to others, this coverage applies only:
                               1.   to a person on the    insured location with the permission of      an   insured;   or
                               2.   to a person off    the insured location, if the bodily injury:
                                    a.   arises out of a condition on the    insured location   or the ways immediately
                                         adjoining;

                                    b.   is caused by the activities of an   insured;
                                    c.   is caused by a residence employee in the course of the         residence
                                         employee's   employment by an insured; or

                                    d.   is caused by an animal owned by or in the care of an     insured.


LIABILITY AND                  1.   LIABILITY and MEDICAL PAYMENTS TO OTHERS                  do not apply to   bodily
MEDICAL PAYMENTS                    injury or property damage:
EXCLUSIONS
                                    a.   which is expected or intended by the     insured;
                                    b.   arising out of business pursuits of an insured or the rental or holding for
                                         rental of any part of any premises by an insured.

                                         This exclusion does not apply to:
                                         (1) activities which are usual to non-business pursuits; or
                                         (2) the rental or holding for rental of an   insured location;
                                            (a)   on an occasional basis if used only as a residence;

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                                     (b)   in part for use only as a residence, unless a single family unit is
                                           intended for use by the occupying family to lodge more than two
                                           roomers or boarders; or

                                     (c)   in part, as an office, school, studio or private garage;
                          c.   arising out of the rendering of or failure to render professional services;
                          d.   arising out of a premises:
                               (1) owned by an         insured;
                               (2) rented to an        insured;
                               (3) rented to others by an          insured;
                               that is not an       insured location.
                          e.   arising out of:
                               (1) the ownership, maintenance, use, loading or unloading of motor vehicles
                                   or all other motorized land conveyances, including trailers, owned or
                                   operated by or rented or loaned to an insured;

                               (2) the entrustment by an insured of a motor vehicle or any other motorized
                                   land conveyance to any person; or

                               (3) vicarious parental liability imposed by statute for the actions of a child or
                                   minor using a conveyance excluded in paragraph (1) or (2) above.

                          This exclusion does not apply to:
                          (1) a trailer not towed by or carried on a motorized land conveyance.
                          (2) a motorized land conveyance designed for recreational use off public roads,
                              not subject to motor vehicle registration and:

                               (a)   not owned by an        insured;   or
                               (b) owned by an         insured     and on an   insured location.
                          (3) a motorized golf cart when used to play golf on a golf course.
                          (4) a vehicle or conveyance not subject to motor vehicle registration which is:
                               (a)   used to service an      insured's      residence;
                               (b) designed for assisting the handicapped; or
                               (c) in dead storage on an           insured location.
                          f.   arising out of:
                               (1) the ownership, maintenance, use, loading or unloading of a watercraft
                                   described below;

                               (2) the entrustment by an           insured   of a watercraft described below to any
                                   person; or

                               (3) vicarious parental liability imposed by statute for the actions of a child or
                                   minor using a watercraft described below.

                                     Watercraft:
                                     (1)   with inboard or inboard-outdrive motor power of more than 50
                                           horsepower owned by or rented to an insured;

                                     (2)   that is a sailing vessel, with or without auxiliary power, which is
                                           more than 35 feet in length owned by or rented to an insured; or

                                     (3)   powered by one or more outboard motor(s) with more than 50 total
                                           horsepower if the outboard motor(s) is owned by an insured. But,
                                           watercraft with outboard motors of more than 50 total horsepower
                                           are covered for the policy period if:

                                           (a)    acquired prior to the policy period and:
                                                  (i) you declare them at policy inception; or
                                                  (ii) you tell us in writing, within 45 days after you acquire them,
                                                    that you intend to insure them.
                                           (b) acquired during the policy period.


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                                      This exclusion does not apply while the watercraft is stored.
                            g.   arising out of:
                                 (1) the ownership, maintenance, use, loading or unloading of an aircraft;
                                 (2) the entrustment by an             insured   of an aircraft to any person; or
                                 (3) vicarious parental liability imposed by statute for the actions of a child or
                                     minor using an aircraft.

                                 An aircraft means any contrivance used or designed for flight, except model
                                 or hobby aircraft not used or designed to carry people or cargo.

                            h.   caused directly or indirectly by war, including undeclared war, civil war,
                                 insurrection, rebellion, revolution, warlike act by a military force or military
                                 personnel, destruction or seizure or use for a military purpose, and including
                                 any consequence of any of these. Discharge of a nuclear weapon will be
                                 deemed a warlike act even if accidental.

                            i.   which arises out of the transmission of a communicable disease by an
                                 insured.
                            Exclusions d., e., f., and g. do not apply to bodily             injury to a residence
                            employee arising out of and in the course of the                 residence employee's
                            employment by an insured.




LIABILITY              2.   LIABILITY         does not apply to:
EXCLUSIONS                  a.   liability:
                                 (1) for your share of any loss assessment charged against all members of an
                                     association, corporation or community of property owners;

                                 (2) under any other contract or agreement. However, this exclusion does not
                                      apply to written contracts:
                                      (a)     that directly relate to the ownership, maintenance or use of an
                                              insured location;        or
                                      (b)     where the liability of others is assumed by the          insured   prior to an
                                              occurrence;
                                      unless excluded in (1) above or elsewhere in this policy;
                            b.   property damage             to property owned by the       insured;
                            c.   property damage to property rented to, occupied or used by or in                     the care
                                 of the insured. This exclusion does not apply to property damage                     caused
                                 by fire, smoke or explosion;
                            d.   bodily injury        to any person eligible to receive any benefits:
                                 (1) voluntarily provided; or
                                 (2) required to be provided;
                                 by the     insured    under any:
                                      (1)     workers' compensation law;
                                      (2)     non-occupational disability law; or
                                      (3)     occupational disease law;
                            e.   bodily injury        or
                                                      property damage for which an insured under                  this policy:
                                 (1) is also an    insured under a nuclear energy liability policy; or
                                 (2) would be an        insured    under that policy but for the exhaustion of its limit
                                      of liability.
                            A nuclear energy liability policy is one issued by:
                                 (1) American Nuclear Insurers;
                                 (2) Mutual Atomic Energy Liability Underwriters;
                                 (3) Nuclear Insurance Association of Canada;
                                 or any of their successors;


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                               f.   bodily injury to you or     an   insured   within the meaning of part a or b of the
                                    definition of "insured".



MEDICAL PAYMENTS          3.   MEDICAL PAYMENTS TO OTHERS                 does not apply to    bodily injury:
EXCLUSIONS
                               a.   to a   residence employee if the bodily injury:
                                    (1)   occurs off the insured location; and
                                    (2) does not arise out of or in the course of the       residence employee's
                                          employment by an   insured;
                               b.   to any person eligible to receive benefits:
                                    (1) voluntarily provided; or
                                    (2) required to be provided;
                                    under any:
                                    (1) workers' compensation law;
                                    (2) non-occupational disability law; or
                                    (3) occupational disease law;
                               c.   from any:
                                    (1) nuclear reaction;
                                    (2) nuclear radiation; or
                                    (3) radioactive contamination:
                                    all whether controlled or uncontrolled or however caused; or
                                    (4) any consequence of any of these.
                               d.   to any person, other than a       residence employee     of an   insured,   regularly
                                    residing on any part of the      insured location.


PERSONAL LIABILITY ADDITIONAL COVERAGES
We cover the following in addition to the limits of liability shown on the Declarations Page for         PERSONAL
LIABILITY.


CLAIM EXPENSE             We pay:
                               a.   expenses we incur and costs taxed against an         insured   in any suit we defend;
                               b.   premiums on bonds required in a suit we defend, but not for bond amounts
                                    more than the limit of liability for LIABILITY. We need not apply for or
                                    furnish any bond;

                               c.   reasonable expenses incurred by an insured at our request, including actual
                                    loss of earnings (but not loss of other income) up to $50 per day, for
                                    assisting us in the investigation or defense of a claim or suit;

                               d.   interest on the entire judgment which accrues after entry of the judgment
                                    and before we pay or tender, or deposit in court that part of the judgment
                                    which does not exceed the limit of liability that applies;

                               e.   prejudgment interest awarded against the insured on that part of the
                                    judgment we pay. If we make an offer to pay the applicable limit of liability,
                                    we will not pay any prejudgment interest based on that period of time after
                                    the offer.




FIRST AID EXPENSE         We will pay expenses for first aid to others incurred by an insured for bodily
                          injury covered under this policy. We will not pay for first aid to you or any other
                          insured.

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DAMAGE TO PROPERTY        We will pay, at replacement cost, up to $500 per occurrence for property damage
OF OTHERS                 to property of others caused by an       insured.
                              We will not pay for        property damage:
                                   a.   to the extent of any amount recoverable under          PERSONAL PROPERTY            if
                                        a part of this policy;
                                   b.   caused intentionally by an      insured    who is 13 years of age or older;
                                   c.   to property owned by an         insured;
                                   d.   to property owned by or rented to a tenant of an          insured   or a resident
                                        in your household; or
                                   e.   arising out of:
                                        (1)   business    pursuits;
                                        (2)   any act or omission in connection with a premises owned, rented or
                                              controlled by an   insured,   other than the   insured location;    or
                                        (3)   the ownership, maintenance, or use of aircraft, watercraft or motor
                                              vehicles or all other motorized land conveyances.
                                              This exclusion does not apply to a motorized land conveyance
                                              designed for recreational use off public roads, not subject to motor
                                              vehicle registration and not owned by an       insured.


The following do not change the limit of liability shown on the Declarations Page for          PERSONAL LIABILITY.


DAMAGE TO                 We will pay for      DAMAGE TO GOVERNMENT HOUSING,                   subject to these
GOVERNMENT                conditions:
HOUSING
                              a.   You must be an officer
                                   (1) of the U.S. Army, Navy, Marine Corps, Air Force or Coast Guard, and
                                   (2) on active duty at the time of damage.
                              b.   This coverage applies only to:
                                   (1) damage to Government-controlled family or unaccompanied personnel
                                        housing and its Government-owned furnishings and equipment.
                                   (2) damage for which you have been found responsible or liable under the
                                        report of survey system utilized by the armed service.
                              c.   We will not pay more than your monthly basic pay at the time of damage.
                              d.   We will not pay for damage resulting from deliberate unauthorized use of
                                   the housing, its furnishings and equipment. Nor for damage resulting from
                                   violation of military rules pertaining to the occupancy of the housing.
                              e.   We will not pay for Government expense in routine or regular maintenance,
                                   replacement or cleanup resulting from normal use, wear and tear, or poor
                                   housekeeping.
                              f.   We will not pay for   property damage to the extent of any amount
                                   recoverable under    PERSONAL PROPERTY if a part of this policy.
                              g.   Exclusion 2c of    LIABILITY EXCLUSIONS does not apply to this coverage.


LOSS ASSESSMENT           We will pay up to $1000 for your share of any loss assessment charged during the
                          policy period against you by a corporation or association of property owners, when
                          the assessment is made as a result of:
                              a.   each occurrence to which           PERSONAL LIABILITY      of this policy would apply:
                              b.   liability for each act of a director, officer or trustee in the capacity as a
                                   director, officer or trustee, provided:


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                                    (1) the director, officer or trustee is elected by the members of a
                                          corporation or association of property owners; and
                                    (2) the director, officer or trustee serves without deriving any income from
                                          the exercise of duties which are solely on behalf of a corporation or
                                          association of property owners.
                                    This coverage applies only to loss assessments charged against you as
                                    owner or tenant of your place of residence.
                                    We do not cover loss assessments charged against you or a corporation or
                                    association of property owners by any governmental body.
                                    Exclusion 2a (1) under       LIABILITY EXCLUSIONS         does not apply to this
                                    coverage.



                       PERSONAL LIABILITY CONDITIONS


LIMIT OF LIABILITY     Our total liability under       LIABILITY     for all damages resulting from any one
                       occurrence will not be more than the limit of liability for             LIABILITY    as shown on the
                       Declarations Page. This limit is the same regardless of the number of             insureds,
                       claims made or persons injured. All            bodily injury    and   property damage resulting
                       from any one accident or from continuous or repeated exposure to substantially the
                       same general harmful conditions shall be considered to be the result of one
                       "occurrence."
                       Our total liability under        MEDICAL PAYMENTS TO OTHERS, for all medical expense
                       payable for         bodily injury, to one person as the result of one accident will not be
                       more than          the limit of liability for MEDICAL PAYMENTS TO OTHERS as shown on
                       the Declarations Page.



SEVERABILITY OF        This        insurance   applies   separately    to   each   insured.    This   condition   will   not
INSURANCE              increase our limit of liability for any one occurrence.



DUTIES AFTER LOSS      In case of an accident or occurrence, the             insured   will perform the following duties
                       that apply. You will help us by seeing that these duties are performed:
                              a.    give written notice to us as soon as is practical, which sets forth:
                                    (1) the identity of the policy and      insured;
                                    (2) reasonably available information on the time, place and circumstances of
                                          the accident or occurrence; and
                                    (3) names and addresses of any claimants and witnesses;
                              b.    promptly forward to us every notice, demand, summons or other process
                                    relating to the accident or occurrence;
                              c.    at our request, help us:
                                    (1) to make settlement;
                                    (2) to enforce any right of contribution or indemnity against any person or
                                          organization who may be liable to an      insured;
                                    (3) with the conduct of suits and attend hearings and trials;
                                    (4) to secure and give evidence and obtain the attendance of witnesses;
                              d.    under the coverage -        DAMAGE TO PROPERTY OF OTHERS -                    submit to us
                                    within 60 days after the loss, a sworn statement of loss and show the
                                    damaged property, if in the       insured's control;
                              e.    the   insured   will not,   except at the insured's own     cost, voluntarily make
                                    payment, assume obligation or incur expense other than for first aid to
                                    others at the time of the      bodily injury.

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DUTIES OF AN           The injured person or someone acting for the injured person will:
INJURED PERSON -
MEDICAL PAYMENTS
TO OTHERS                  a.   give us written proof of claim, under oath if required, as soon as is
                                practical; and
                           b.   authorize us to obtain copies of medical reports and records.
                           c.   The injured person will submit to a physical exam by a doctor of our choice
                                when and as often as we reasonably require.



PAYMENT OF CLAIM-      Payment under this coverage is not an admission of liability by an       insured or us.
MEDICAL PAYMENTS
TO OTHERS


SUIT AGAINST US        No action can be brought against us unless there has been compliance with the
                       policy provisions.
                       No one will have the right to join us as a party to any action against an     insured.
                       Also, no action with respect to      LIABILITY   coverage can be brought against us until
                       the obligation of the     insured   has been determined by final judgment or agreement
                       signed by us.



BANKRUPTCY OF AN       Bankruptcy or insolvency of an       insured   will not relieve us of our obligations under
INSURED                this policy.



OTHER INSURANCE -      This insurance is excess over other valid and collectible insurance except
LIABILITY              insurance written specifically to cover as excess over the limits of liability that apply
                       in this policy.




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                               ADJUSTED CONTENTS ENDORSEMENT                                             R-20
                                       (Renters Protection Policy)                                  Ed. 4-86




AGREEMENT             PERSONAL PROPERTY.

                         It is agreed that the Limit of Liability for PERSONAL PROPERTY shown on the
                         Declarations Page will be adjusted at each renewal of this policy. The adjustment
                         will reflect the averaged rate of change of the

                             - House furnishings,
                             - Entertainment Commodities, and
                             - Apparel Commodities
                         portions of the Consumer Price Index of the U.S. Department of Labor. The
                         resulting limit will be rounded to the nearest $100. We will not reduce this limit
                         without your consent.


                         You have the right to refuse any change in the Limit of Liability for PERSONAL
                         PROPERTY. To do this, you must notify us before the effective date of such
                         change. If you do reject the new limit, we may, at our option, delete this
                         endorsement from your policy.


OTHER                 None of the other provisions of this policy are changed.
POLICY
PROVISIONS




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                                                                              R-MCOVUT         (0609)


                                      MILITARY COVERAGE
                                   (Renters Protection Plan)
                                                Utah


                      The following are added to       ADDITIONAL COVERAGES :

MILITARY              We will waive your deductible for loss to uniforms and military
UNIFORMS AND          equipment, owned by you, including but not limited to clothing, insignia,
EQUIPMENT             flight cases, headsets, personal body armor and GPS devices for a loss
                      described under      CAUSES OF LOSS COVERED          while you are on active
                      or active reserve duty.


                      This coverage reduces the        PERSONAL PROPERTY      limit of liability.


                      No deductible applies to this coverage.


WAR                   To the extent that coverage for war is provided here, item 1.        CAUSES
                      OF LOSS NOT COVERED              and the war exclusion in any endorsement
                      attached to this policy do not apply.


                      We will pay the lesser of:


                      a.     Your PERSONAL PROPERTY limit; or


                      b.     $10,000


                      for:


                      a.     Direct loss or damage to your personal property caused by        war ;   or


                      b.     Abandonment as a consequence of       war

                      subject to these conditions:


                      "War"     means war whether declared or undeclared; civil war; insurrection;
                      rebellion; revolution; any warlike act by friendly or enemy forces;
                      destruction or seizure for a military purpose.


                      This coverage applies only:


                      a.     To any   insured   who is subject to government reimbursement for loss
                             to personal property under 31 USC 3721, commonly referred to as
                             the Military Personnel and Civilian Employees Claims Act, as amended
                             and supplemented, or any successor or replacement act; and


                      b.     To loss that occurs anywhere outside the Continental United States,
                             Alaska or Hawaii.




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                      In addition to compliance with the other provisions of       DUTIES AFTER
                      LOSS,      you must:


                      a.    Report your claim to the U.S. Government, its affiliate or agency, and
                            comply with its requirements;


                      b.    Send us, within 60 days after our request, copies of all actual
                            documents which outline the basis of the government's
                            reimbursement for your loss including the amount paid.


                      The   LOSS SETTLEMENT         clause in this policy is changed for loss by     war ,
                      only to read:


                            War   loss to personal property under this policy is not payable until
                            the U.S. Government has made its final payment to you for the loss
                            under 31 USC 3721 as amended and supplemented, or any successor
                            or replacement act.


                            Subject to all policy provisions, our payment will be the total amount
                            of your loss minus the U.S. Government payment.


                            We will adjust all losses with you. We will pay you unless some other
                            person is named in the policy or is legally entitled to receive payment.
                            Loss will be payable 60 days after we receive your proof of loss,
                            and satisfactory evidence of the amount of the U.S. Government
                            payment, or we reach an agreement with you.


                      Paragraph 2. of the     OTHER INSURANCE        clause is changed for loss by
                      war    only to read:


                            2.   If, at the time of loss there is other insurance in force, then this
                                 policy will apply only when that coverage has been exhausted.


                                 Government payment for loss is not insurance, but our payment
                                 will not be made until after the U.S. Government has made its final
                                 payment for your loss.


                      This coverage reduces the      PERSONAL PROPERTY         limit of liability.


                      The policy deductible applies to this coverage.


                      Except as specifically modified in this endorsement, all provisions of the
                      policy to which this endorsement is attached also apply to this
                      endorsement.




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                         AMENDATORY ENDORSEMENT - UTAH                                                            R-UT
                                   (Renters Protection Policy)                                                (1006)



                         GENERAL PROVISIONS

CONCEALMENT,             CONCEALMENT, MISREPRESENTATION OR FRAUD                                  is   deleted     and
MISREPRESENTATION        replaced by:
OR FRAUD
                         We do not provide coverage to any                  insured   who, whether before or
                         after a loss, has:


                         a)   intentionally   concealed     or      misrepresented      any   material      fact    or
                              circumstance;

                         b)   engaged in fraudulent conduct; or

                         c)   made false statements;


                         relating to this insurance.


RECOVERY FROM            RECOVERY FROM OTHERS               is deleted and replaced by:
OTHERS
                         An   insured     may waive in writing before a loss all rights of recovery
                         against any person. If not waived, we may require an assignment of rights
                         of recovery for a loss to the extent that payment is made by us.


                         If an assignment is sought, an          insured     must sign and deliver all related
                         papers and cooperate with us.


                         If we make a payment under this policy and the person to or for whom
                         payment was made recovers damages from another, that person shall
                         hold in trust for us the proceeds of the recovery and reimburse us to
                         the extent of our payment.


                         Recovery from others does not apply to     MEDICAL PAYMENTS TO
                         OTHERS or to DAMAGE T O PROPERTY OF OTHERS under PERSONAL
                         LIABILITY when it is a part of the Policy.

CANCELLATION AND         CANCELLATION AND NON-RENEWAL                        is deleted and replaced by:
NON-RENEWAL
                         CANCELLATION

                         a.   You may cancel this policy at any time. But the effective date of
                              cancellation cannot be earlier than the date of your request. Return
                              premium will be computed on a pro rata basis.


                         b.   We    may    cancel   this   policy    only   for   the   reasons    stated    in    this
                              condition by notifying you in writing of the date cancellation takes
                              effect. This cancellation notice may be delivered to you or mailed to
                              you at your mailing address shown on the Declarations Page. Proof
                              of mailing shall be sufficient proof of notice.


                              1.   When you have not paid the premium, whether payable to us or
                                   to our agent or under any finance or credit plan, we may cancel
                                   at any time by notifying you at least 10 days before the date
                                   cancellation takes effect.
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                              2.     When this policy has been in effect for less than 60 days and is
                                     not a renewal with us, we may cancel for any reason by letting
                                     you know at least 10 days before the date cancellation takes
                                     effect.

                              3.     When this policy has been in effect for 60 days or more, or at
                                     any time if it is a renewal with us, we may cancel for one or
                                     more of the following reasons by notifying you 30 days before
                                     the cancellation takes effect.


                                     (a)   there has been a material misrepresentation;


                                     (b) the risk has changed substantially since the policy was issued,
                                           unless we could have reasonably foreseen the                 change or
                                           contemplated the risk in writing the policy; or


                                     (c)   there has been a substantial breach of a contractual duty,
                                           condition or warranty.


                              4.     When this policy is written for a period of more than one year or
                                     for    an   indefinite   term,    we   may   cancel   for    any   reason   at
                                     anniversary by letting you know at least 30 days before the date
                                     cancellation takes effect.


                         c.   When this policy is canceled, the premium for the period from the
                              date of cancellation to the expiration date will be refunded. When the
                              policy is canceled, the return premium will be pro rata.


                         d.   If we cancel this policy, the unearned premium shall be refunded
                              within 30 days after the effective date of cancellation. When you
                              request cancellation, the return premium will be refunded within a
                              reasonable time after the date cancellation takes effect.


                         NON-RENEWAL

                         We may elect not to renew this policy. If we elect not to renew, we will
                         let you know in writing at least 30 days before the expiration date of the
                         policy.     The     non-renewal      notice   may be     delivered   to you    or   mailed
                         through first class mail to your last address known to us. Proof of
                         mailing will be sufficient proof of notice.


                         * PERSONAL PROPERTY


DOLLAR LIMITS ON         Item   9.    in the RP-2 and RP-3 contracts and Item              10.   in the RP-4 and
SOME PROPERTY            RP-5 contracts are deleted and replaced by:


                         $200         For money, bank notes, bullion, gold other than goldware, silver
                         other than silverware, platinum, coins, medals, food stamps, gasoline
                         coupons, and tokens.


PROPERTY NOT             Item   6.   is deleted.
COVERED




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CAUSES OF LOSS          Item   3 . FLOOD A N D WATER             in the RP-2 and RP-3 contracts is deleted
COVERED                 and replaced by:

                        a.   Flood means:

                             1.   the overflow of inland or tidal waters;


                             2.   the unusual and rapid accumulation or runoff of surface waters
                                  from any source; or


                             3.   mudslides which are proximately caused by the overflow of inland
                                  or tidal waters and are akin to a river or liquid and flowing mud
                                  on    the     surfaces   of    normally        dry   land   areas    including   your
                                  residence, as when earth is carried by a current of water and
                                  deposited along the path of the current.


                        b.   Water means:


                             1.   damage caused by water which backs up through sewers or
                                  drains;


                             2.   damage caused by accidental escape of water from plumbing,
                                  heating, or air condition pipes, fixtures, or equipment or domestic
                                  appliances.


                        We will not cover damage caused by gradual seepage of water through
                        building or       basement    walls,     roofs,     windows,      doors,      foundations,    or
                        floors. This      CAUSE OF LOSS                 does not include loss caused by or
                        resulting from freezing except as provided in Item                    15. FREEZING.

                        Item 14. SUDDEN A N D ACCIDENTAL TEARING APART, CRACKING,
                        BURNING OR BULGING in the RP-2 and RP-3 contracts is deleted and
                        replaced by:


                        We cover loss caused by sudden and accidental tearing apart, cracking,
                        burning, or bulging, of a steam or hot water heating system, an air
                        conditioning       or    automatic      fire    protective      sprinkler     system,    or   an
                        appliance for heating water.


                        This   CAUSE OF LOSS          does not include loss caused by or resulting from
                        freezing except as provided in Item              15. FREEZING.

                        Under  Item 16. SUDDEN A N D ACCIDENTAL DAMAGE FROM
                        ARTIFICIALLY GENERATED ELECTRICAL CURRENT in the RP-2 and
                        RP-3 contracts, the exclusion for loss to a tube, transistor or like
                        electronic component is deleted.


CAUSES OF LOSS          Item   13.   in the RP-4 and RP-5 contracts is deleted and replaced by:
NOT COVERED
                        13. When your property is in transit or storage, meaning in the custody
                             of a public carrier or storage facility under a bill of lading, a mover's
                             contract,     baggage    check, or          other    form   of shipping      or    storage
                             document, we do not insure for loss caused directly or indirectly by
                             any of the following:


                             a.      Damage or breakage incurred while loading or unloading.


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                             b.   Delay during shipment.

                             c.   Insufficient packing or address.

                             d.   Breakage.    But there is coverage for breakage caused by the
                                  stranding,   sinking,    overturning,   crashing,   ditching,   derailment,
                                  burning or collision of a public conveyance.

                             Exclusion 7. does not apply.


ADDITIONAL              MOVING A N D STORAGE              in the RP-2 and RP-3 contracts is deleted and
COVERAGES               replaced by:


                        MOVING AND STORAGE:
                        a.   begins when YOUR PROPERTY PASSES INTO THE CUSTODY OF A
                             PUBLIC     CARRIER,    INCLUDING      United    States   government      trucks,
                             aircraft and vessels, or a storage facility.        Your property must be
                             under a bill of lading, a mover's contract, baggage check, or other
                             form of shipping or storage document.


                             This coverage ends:


                             1.   when your property is delivered to your permanent or temporary
                                  address in accordance with the shipping document; or


                             2.   when you take possession of your property from storage.


                        b.   provides coverage, in addition to the previously described            CAUSES
                             OF LOSS COVERED,         for:


                             1.   loss of your property if, when described under a bill of lading,
                                  mover's contract, baggage check, or other form of shipping or
                                  storage document, it cannot be located after a reasonable search;


                             2.   loss or damage caused by the stranding, sinking, overturning,
                                  crashing, ditching, derailment, burning, or collision of a public
                                  conveyance;


                             3.   loss or damage caused by water, except as excluded in c. below;
                                  and


                             4.   your share of general average and salvage charges. These charges
                                  do not increase the amount shown on the Declarations Page for
                                  PERSONAL PROPERTY.

                        c.   does not cover loss or damage caused by:


                             1.   Breakage, marring, scratching, or handling;

                             2.   Delay during shipment;

                             3.   Humidity or temperature changes;

                             4.   Fungi, mildew or mold;

                             5.   Inherent defect of the property;

                             6.   Insufficient packing or address; or

                             7.   Insects, rodents, or vermin.
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                       d.   does not increase the amount shown on the Declarations Page for
                            PERSONAL PROPERTY.

                       FOOD SPOILAGE            is deleted and replaced by:


                       REFRIGERATED PRODUCTS

                       We will pay you up to $500 for loss to the contents of a freezer or a
                       refrigerator located at your             residence, as    a consequence of power
                       failure or mechanical breakdown. The $500 limit is the most we will pay
                       in any one loss.


                       This coverage does not increase the amount shown on the Declarations
                       Page for    PERSONAL PROPERTY.

                       No deductible applies to this coverage.


                       LOCK REPLACEMENT               is deleted and replaced by:


                       LOCK REPLACEMENT

                       When the residence door keys are stolen, we will pay the cost to:


                       a.   change the combination in the lock cylinder of the door locks as
                            needed; or


                       b.   change the lock hardware of the doors as needed.


                       The limit of liability for     LOCK REPLACEMENT            is $250.


                       This coverage does not increase the amount shown on the Declarations
                       Page for    PERSONAL PROPERTY.

                       No deductible applies to this coverage.


                       Items   1., 2.,   and   3.   under   LOSS OF USE       are deleted and replaced by:


                       LOSS OF USE

                       We will pay for:


                       1.   ADDITIONAL LIVING EXPENSE.                 If a   CAUSE OF LOSS           covered by
                            this policy makes the place where you reside not fit to live in, we
                            cover the necessary increase in living expenses incurred by you so
                            that your household can maintain its normal standard of living.


                            Payment will be for the shortest time required to repair or replace
                            the   damage       or,   if   you   permanently    relocate,     the   shortest   time
                            required for your household to settle elsewhere, in either event, not
                            to exceed 12 months.




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                         2.   FAIR RENTAL VALUE.               If a   CAUSE OF LOSS        covered by this
                              policy makes that part of the residence premises rented to others or
                              held for rental by you not fit to live in, we cover the fair rental value
                              of that part of the residence rented to others or held for rental by
                              you, less any expenses that do not continue while it is not fit to live
                              in.


                              Payment will be for the shortest time required to repair or replace
                              that part of the premises rented to or held for rental, but not to
                              exceed 12 months.


                         3.   PROHIBITED USE.        If a civil authority prohibits you from use of the
                              place where you reside as a result of direct damage to neighboring
                              premisesby a   covered CAUSE OF    LOSS, we cover the
                              ADDITIONAL LIVING EXPENSE or FAIR RENTAL VALUE loss as
                              provided under 1. and 2. above, for no more than two weeks.


                         Item   4.   in the RP-4 and RP-5 contracts of      LOSS OF USE       is deleted and
                         replaced by:

                         4.   If a power failure that occurs away from your premises makes your
                              premises not fit to live in, we will cover the           ADDITIONAL LIVING
                              EXPENSE      as defined above.


                              This    coverage   starts   48    hours   after   your    residence    premises
                              becomes not fit to live in. It will not be more than 7 days in duration.


PERSONAL PROPERTY        DUTIES AFTER LOSS          is deleted and replaced by:
CONDITIONS
                         If there is an accident or incident that may be covered by this policy you
                         must do the following:


                         1.   In the case of a loss by theft, vandalism, or malicious mischief,
                              immediately notify the police or military authority, whichever has
                              jurisdiction over the location where the loss occurred. Immediately
                              notify the credit card or fund transfer card company in case of loss
                              under   CREDIT CARD     or   FUND TRANSFER CARD            coverage.


                         2.   Protect the property from further damage.


                         3.   Contact us as soon as possible and tell us as much as you can about
                              the loss. Give us the price and date of purchase,          actual cash value
                              and a complete description of the article(s) involved. One means you
                              may use to fulfill this requirement is mailing the notice to us, postage
                              prepaid, through first class mail deposited in a United States Post
                              Office.


                         4.   Submit a proof of loss when required by us. One means you may use
                              to send the requested proof of loss is mailing it to us, postage
                              prepaid, through first class mail deposited in a United States Post
                              Office.




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                         5.   Send us receipts, appraisals or other proof of ownership or value.
                              Tell us if there is a lien on the property, and who holds it. You must
                              tell us if there is other insurance on the property.


                         6.   If required by us, you must show us the property and answer our
                              questions under oath about the loss or damage.


                         7.   You must tell us about the loss within 91 days after the loss is
                              discovered. Failure to submit the requested proof of loss within 91
                              days does not invalidate your claim, if you show that it was not
                              reasonably possible to do so and also show that you submitted the
                              proof of loss to us as soon as reasonably possible.


                         SUIT AGAINST US                  is deleted and replaced by:


                         There is a time limit for bringing legal action against us concerning this
                         policy. It must be filed within three years after the loss occurs. You must
                         also comply with all policy provisions.


                         Item      1.    in the RP-3 and RP-5 contracts of                 LOSS SETTLEMENT            is
                         deleted and replaced by:


                         1.   It is our option to:

                              a.        replace or pay you our cost to replace the property with new
                                        property    of     like   kind    and   quality,   without    deduction      for
                                        depreciation, or


                              b.        pay   you   the    cost   to   repair   or   restore   the   property   to   the
                                        condition it was in just before the loss, or


                              c.        pay you the necessary amount actually spent to repair or replace
                                        the damaged property.


                         Item 3. in the RP-2 and RP-4 contracts and Item 5. in the RP-3 and
                         RP-5 contracts of the             LOSS SETTLEMENT            is deleted and replaced by:


                              We will adjust all losses with you. We will pay you unless some other
                              person is named in the policy or is legally entitled to receive payment.
                              Loss will be payable within 30 days after we receive your Proof of
                              Loss.


                              a.        we reach an agreement with you; or


                              b.        there is an entry of a final judgment; or


                              c.        there is a filing of an appraisal award with us.




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                         Item   4.   in the RP-3 and RP-5 contracts of                      LOSS SETTLEMENT               is
                         deleted and replaced by:


                         4.   We     will   pay   no     more     than   actual cash value             until    repair    or
                              replacement of the damaged property is completed unless the entire
                              loss is less than $500. You may make a claim for loss on an                          actual
                              cash value      basis. Repair or replacement must be completed within
                              365 days after loss unless you request in writing that this time limit
                              be extended for an additional 180 days.                  Upon completion of repairs
                              or replacement, we will pay the additional amount claimed under
                              replacement cost coverage.


                         RECOVERED PROPERTY                 is deleted and replaced by:


                         SALVAGE AND RECOVERED PROPERTY

                         We have an interest in the salvage value of any property for which we
                         have made a payment under the                  LOSS SETTLEMENT            provision. At our
                         option,     property     that      we   have    paid   for   or    replaced    becomes          our
                         property.


                         If you or we recover any property for which we have made payment
                         under this policy, you or we will notify the other of the recovery. At
                         your option, the property may be retained by you. If you retain the
                         property, the loss payment, or any lesser amount to which we agree,
                         must be refunded to us.


                         *PERSONAL LIABILITY

LIABILITY                LIABILITY     is deleted and replaced by the following:


                         If a claim is made or a suit is brought against an                   insured for damages
                         because      of    bodily       injury    or     property         damage caused by an
                         occurrence     to which this coverage applies, we will:


                         1.   pay up to our limit of liability for the damages for which the                      insured
                              is legally liable; and


                         2.   provide a defense at our expense by counsel of our choice, even if
                              the suit is groundless, false or fraudulent.                  We may investigate and
                              settle any claim or suit that we decide is appropriate. Our duty to
                              settle or     defend       ends    when    the    amount      we   pay    or     tender for
                              damages resulting from an             occurrence        equals our limit of liability.
                              This coverage does not provide defense to any                      insured     for criminal
                              prosecution or proceedings.


                         Occurrence         means      an    accident,     including       continuous     or     repeated
                         exposure to substantially the same general harmful conditions, which
                         results, during the policy period, in:


                         a.   bodily injury;      or


                         b.   property damage.

                         We will not pay for punitive damages or exemplary damages, fines or
                         penalties.
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LIABILITY AND            Item   1.a.     is deleted and replaced by:
MEDICAL PAYMENTS
EXCLUSIONS               a.   caused by the intentional or purposeful acts of any                       insured, including
                              conduct that would reasonably be expected to result in                        bodily injury
                              to any person or            property damage          to any property.


                         Item   1.b.     is deleted and replaced by:


                         b.   1.    arising out of or in connection with a                 business     engaged in by an
                                    insured.         This exclusion applies but is not limited to an act or
                                    omission, regardless of its nature or circumstance, involving a
                                    service or           duty   rendered,      promised, owed, or implied to be
                                    provided because of the nature of the                  business;

                              2.    arising out of the rental or holding for rental of any part of any
                                    premises by an              insured.   This exclusion does not apply to the
                                    rental or holding for rental of an             insured location:

                                    a.        on an occasional basis if used only as a residence;


                                    b.        in part for use only as a residence, unless a single family unit
                                              is intended for use by the occupying family to lodge more
                                              than two roomers or boarders; or

                                    c.        in part, as an office, school, studio or private garage.


                         Under item           1.f., Watercraft , (3)   is deleted and replaced by:


                         (3) powered by one or more outboard motor(s) with more than 50 total
                              horsepower if the outboard motor(s) is owned by an                              insured.    But,
                              watercraft with outboard motors of more than 50 total horsepower
                              are      covered for the policy period if                 acquired during the          policy
                              period.


                         Under item           1.f., Watercraft , (4)   is added:


                         (4) that        is    a   personal     watercraft. As      used    in   this   section,   personal
                              watercraft means a conveyance used or designed to be used on the
                              water which is propelled by a water jet propulsion pump.


                         Under     1. the      following exclusions are added:


                         1.   arising         out   of   the    use,   sale,   manufacture,       delivery,    transfer    or
                              possession by any person of a controlled substance(s). Controlled
                              substances include but are not limited to cocaine, LSD, marijuana and
                              all narcotic drugs. However, this exclusion does not apply to the
                              legitimate use of prescription drugs by a person following the orders
                              of a licensed physician.


                         2.   arising out of the actual, alleged, or threatened discharge, dispersal,
                              release, escape, seepage, or migration of pollutants however caused
                              and whenever occurring. This includes any loss, cost or expense
                              arising out of any:




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                                  a.     Request, demand, or order that any                      insured       or others test for,
                                         monitor, clean up, remove, contain, treat, detoxify, or assess the
                                         effects of pollutants; or

                                  b.     Claim or suit by or on behalf of a governmental authority for
                                         damages          because      of      testing        for,   monitoring,          cleaning      up,
                                         removing, containing, treating, detoxifying or neutralizing, or in
                                         any way responding to, or assessing the effects of pollutants.


                                  Pollutants        means any         solid,    liquid,       gaseous    or    thermal       irritant    or
                                  contaminant,            including   smoke,       vapor,        soot,    fumes,          acids,    alkalis,
                                  chemicals, and waste. Waste includes materials which are intended to
                                  be or have been recycled, reconditioned, or reclaimed.


                             3.   arising out of exposure to lead paint or other lead-based products.


                             4.   arising out of exposure to asbestos.


                             5.   arising out of the commission of, attempting to flee from, or avoiding
                                  apprehension for a criminal                    act for which intent is a necessary
                                  element.


LIABILITY                    Under     2.    the following exclusion is added:
EXCLUSIONS
                             1.   punitive or exemplary damages, fines, or penalties.


PERSONAL LIABILITY           Item   c.      of   CLAIM EXPENSE          is deleted and replaced by:
ADDITIONAL
COVERAGES                    c.   reasonable expenses incurred by an                      insured       at our request, including
                                  actual loss of earnings (but not loss of other income) up to $100 per
                                  day, for assisting us in the investigation or defense of a claim or suit;


                             The first paragraph of               DAMAGE T O PROPERTY OF OTHERS                               is deleted
                             and replaced by:


                             We will pay, at replacement cost, up to $1,000 per occurrence for
                             property damage to property of others caused by an                               insured.

                             Item      a.    of    DAMAGE T O GOVERNMENT HOUSING                                     is    deleted      and
                             replaced by:


                             a.   You must be a military member


                                  1.     of the U.S. Army, Navy, Marine Corps, Air Force or Coast Guard,
                                         and


                                  2.     on active duty at the time of damage.


OTHER                        Except as specifically modified in this endorsement, all provisions of the
POLICY                       policy         to    which    this    endorsement           is    attached       also    apply        to   this
PROVISIONS                   endorsement.


* Applicable only when you have purchased this coverage as a provision of this policy.


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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                                    SPOUSE ACCESS


The following condition is added:


The named insured and        we   agree that the named insured and resident spouse are "customers" for
purposes of state      and federal privacy laws.         The resident spouse will have access to                   the same
information available to the named insured and may initiate the same transactions as the named insured.


The named insured may notify      us    that he/she no longer agrees that the resident spouse shall be treated
as a "customer" for purposes of state and federal privacy laws, and                   we    will not permit the resident
spouse to access policy information.



Except   as   specifically   modified   in   this   endorsement,   all   provisions    of    the   policy   to    which    this
endorsement is attached also apply to this endorsement.




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                                                                                                              R-IDF    (0703)

                 THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY


                              IDENTITY AND FINANCIAL FRAUD COVERAGE


CREDIT CARD,             CREDIT CARD, FUND TRANSFER CARD, FORGERY A N D COUNTERFEIT
FUND TRANSFER            MONEY is deleted and replaced by:
CARD, FORGERY
AND
COUNTERFEIT
MONEY


CREDIT CARD,             CREDIT CARD, FUND TRANSFER CARD, FORGERY, COUNTERFEIT MONEY,
FUND TRANSFER            AND IDENTITY FRAUD EXPENSE COVERAGE.
CARD, FORGERY
COUNTERFEIT              We will pay up to $5,000 in the aggregate for all loss and defense costs
MONEY, AND               resulting from:
IDENTITY FRAUD
EXPENSE                  a.    the   legal   obligation    of   any   insured     to   pay   because     of   the    theft   or
COVERAGE                       unauthorized use of credit cards issued to or registered in any                      insured's
                               name;


                         b.    loss resulting from theft or unauthorized use of electronic fund transfer
                               cards or access devices used for deposit, withdrawal or transfer of funds,
                               issued to or registered in any         insured's   name;


                         c.    loss to any      insured     caused by forgery or alteration of any check or
                               negotiable instrument;


                         d.    loss to any    insured     through acceptance in good faith of counterfeit United
                               States or Canadian paper currency; or


                         e.    expenses      incurred by any      insured   as the direct result of any one          Identity
                               Fraud.

                         For the purposes of this endorsement a series of acts committed by any one
                         person or in which any one person is concerned or implicated is considered to
                         be one loss, even if a series of acts continues into a subsequent policy period.


                         We will provide defense, other than that provided by                  Identity Fraud Expense
                         coverage as follows:


                         a.    we    may     investigate    and   settle    any   claim   or   suit   that    we    decide   is
                               appropriate. Our duty to defend a claim or suit ends when the amount we
                               pay or tender for the loss equals our limit of liability.


                         b.    if a suit is brought against any        insured    for liability under the Credit Card or
                               Fund Transfer Card coverage, we will provide a defense at our expense by
                               counsel of our choice.


                         c.    we have the option to defend at our expense any                 insured   or any     insured's
                               bank against any suit for the enforcement of payment under the Forgery
                               coverage.




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                       DEFINITIONS

                       With      respect   to    the   provisions    of   this   endorsement        only,   the   following
                       definitions are added:


                       1.   "Expenses"      means:


                            a.    costs for notarizing fraud affidavits or similar documents for financial
                                  institutions   or    similar   credit   grantors    or   credit   agencies      that   have
                                  required that such affidavits be notarized;


                            b.    costs for certified mail to law enforcement agencies, credit agencies,
                                  financial institutions or similar credit grantors;


                            c.    lost wages as a result of time taken off from work to meet with, or
                                  talk to, law enforcement agencies, credit agencies, merchants, and/or
                                  legal counsel, or to complete fraud affidavits, not to exceed $250 per
                                  day;


                            d.    loan application fees for re-applying for a loan or loans when original
                                  application is rejected solely because the lender received incorrect
                                  credit information;


                            e.    reasonable attorney fees incurred, with our prior consent, for:


                                  (1) defense of lawsuits brought against an                insured    by merchants or
                                       their collection agencies; and

                                  (2) the removal of any criminal or civil judgments wrongly entered
                                       against an   insured;

                            f.    charges incurred for long distance telephone calls to merchants, law
                                  enforcement agencies, financial institutions or similar credit grantors, or
                                  credit agencies to report or discuss           Identity Fraud;

                            g.    research fees charged by merchants, financial institutions or similar
                                  credit grantors, or credit agencies.


                       2. "Identity Fraud"          means the act of knowingly transferring or using, without
                            lawful authority, a means of identification of any              insured    with the intent to
                            commit, or to aid or abet, any unlawful activity that constitutes a violation
                            of federal law or a felony under any applicable state or local law.


                       EXCLUSIONS

                       The following additional exclusions apply to this coverage.


                            1.    We do not cover forgery, theft or use of a credit card, electronic fund
                                  transfer card or access device:


                                  a.   by a resident of your household;

                                  b.   by a person who has been entrusted with the card(s) or device(s); or

                                  c.   if any   insured   has not complied with all terms and conditions under
                                       which the cards or devices are issued.




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                               2.   We do not cover loss arising out of             business   pursuits, dishonesty,
                                    fraud, or criminal activity of any   insured.

                           This coverage is additional insurance. A $100 deductible applies to the            Identity
                           Fraud Expense      coverage. No deductible        applies to the Credit Card, Fund
                           Transfer Card, Forgery, and Counterfeit Money coverage.


                           YOUR DUTIES AFTER LOSS


                           The following is added under         PERSONAL PROPERTY CONDITIONS, DUTIES
                           AFTER LOSS:

                               8.   You must provide us with receipts, bills or other records that support
                                    your claim for expenses under      Identity Fraud Expense       coverage.


                           OTHER INSURANCE

                           For the purposes of this endorsement, the following is added to                  PERSONAL
                           PROPERTY CONDITIONS, OTHER INSURANCE:

                           The coverage provided by this endorsement is excess over other insurance that
                           covers the same loss. Other insurance includes the coverage and any deductible
                           required by such other insurance. This coverage is also excess over any other
                           contractual   conditions,   rights    or   benefits   that   provide    relief    from   or
                           indemnification for your obligations to pay any amounts to any third party
                           resulting from a loss covered under this endorsement. In no event will we pay
                           more than the applicable Limit of Insurance.


                           Except as specifically modified in this endorsement, all provisions of the policy
                           to which this endorsement is attached also apply to this endorsement.




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.                                      RP-MLD
                                                                                                                   (0803)
                            AMENDMENT TO CONTRACT PROVISIONS

DEFINITIONS            The following definition is added:


                       "Fungus"     means any type or form of fungus, including mold or mildew and any
                       mycotoxins, spores, scents or byproducts produced or released by fungi.


FUNGUS,                The following     ADDITIONAL COVERAGE              is added:
WET OR DRY ROT,
OR BACTERIA            We will pay up to:


                       a.   a total of $2,500 for direct physical loss to  PROPERTY COVERED caused
                            by, resulting from, or consisting of   fungus, wet or dry rot, or bacteria if
                            the direct result of a     CAUSE OF LOSS COVERED ; and

                       b.   $2,000 for the necessary increase in costs which you incur to maintain
                            your   normal     standard   of    living   when   the    place   where       you   reside    is
                            uninhabitable due to a loss caused by, resulting from, or consisting of
                            fungus, wet or dry rot,       or bacteria which is the direct result of a             CAUSE
                            OF LOSS COVERED.

                       The coverage provided above is the only coverage provided by this policy for
                       damage or loss solely caused by, resulting from, or consisting of                   fungus,     wet
                       or dry rot, or bacteria.


                       It is the most we will pay for the cost:


                       a.   to remove      fungus,   wet or dry rot, or bacteria from covered property; and


                       b.   of any testing of air or property to confirm the absence, presence or level
                            of   fungus,   wet or dry rot, or bacteria whether performed prior to, during
                            or after removal, repair, restoration or replacement. The cost of such
                            testing will be provided only to the extent that there is a reason to believe
                            that there is the presence of       fungus,   wet or dry rot, or bacteria.


                       The coverage provided above applies only when such loss or costs occur
                       during the policy period and only if all reasonable means were used to save and
                       protect     the   property    from     further   damage   at    or   after   the    time   of     the
                       occurrence of that      CAUSE OF LOSS COVERED.

                       If there is damage to covered property, not caused solely by                   fungus,     wet or
                       dry rot, or bacteria, loss payment will not be limited by the terms of this
                       ADDITIONAL COVERAGE,              except to the extent that      fungus,     wet or dry rot, or
                       bacteria causes an increase in the loss. Any such increase in the loss will be
                       subject to the terms of this       ADDITIONAL COVERAGE.

                       This is additional insurance. No deductible applies to this coverage once the
                       policy deductible has been met.


CAUSES OF LOSS         The following exclusion is added to policy forms RP-2, RP-3, RP-4, and RP-5:
NOT COVERED
                            Fungus, W e t o r Dry Rot, o r Bacteria, meaning the presence, growth,
                            proliferation, spread or any activity of fungus, wet or dry rot, or bacteria
                            other than as provided in ADDITIONAL COVERAGES, Fungus, Wet or Dry
                            Rot, or Bacteria.

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                     If your policy is the RP-4 or the RP-5 policy form, item 8.c. is deleted and
                     replaced by the following:


                        8.c. smog, rust, or other corrosion.


LIABILITY AND        For policy form RP-6, the following exclusion is added under item 1.:
MEDICAL
PAYMENTS                arising directly or indirectly, in whole or in part, out of the actual, alleged or
EXCLUSIONS              threatened inhalation or, ingestion or, contact with, exposure to, existence
                        of or presence of any     fungus,   wet or dry rot, or bacteria.


                     Except as specifically modified in this endorsement, all provisions of the policy
                     to which this endorsement is attached also apply to this endorsement.




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                                    WORKERS' COMPENSATION NOTICE


 Most states now require employers to carry Workers' Compensation coverage for their employees. In
 a number of states this coverage applies to household workers, gardeners and even baby-sitters. The
 employer usually becomes liable to the employee for the protection after the employee has earned a
 certain minimum salary or worked a certain minimum number of hours per week/per quarter. You
 should consult the appropriate agency below for the requirements in your state.


 We do not write Workers' Compensation in your state. Your current policy does not provide Medical
 Payments or Liability coverage for injury to an employee who is or is supposed to be covered by
 Workers' Compensation. This should not alarm you, however, since Workers' Compensation coverage
 can be obtained separately from another company or agency. Contact the department listed below for
 guidance in purchasing your Workers' Compensation coverage.


 REMEMBER,       you do not have to give up your present insurance with us in order to purchase Workers'
 Compensation coverage from another source.


 ALASKA                                                  HAWAII
 Workmen's Compensation Division                         Disability Compensation Division
 Department of Labor                                     Department of Labor and Industrial Relations
 P.O. Box 25512                                          P.O. Box 3769
 Juneau, AK      99802-5512                              Honolulu, HI 96812


 COLORADO                                                IOWA
 Workers' Compensation Section                           Division of Industrial Services, Department of
 Division of Labor                                       Employment Services
 1120 Lincoln St., 14th Floor                            1000 E. Grand Avenue
 Denver, CO      80203                                   Des Moines, IA 50319


 CONNECTICUT                                             KANSAS
 Workers' Compensation Commission                        Division of Workers' Compensation
 1890 Dixwell Avenue                                     Department of Human Resources
 Hamden, CT      06514                                   600 Merchants Bank Tower
                                                         800 SW Jackson
                                                         Topeka, KS 66612-1227
 DELAWARE
 Industrial Accident Board
 State Office Building, 6th Floor                        KENTUCKY
 820 North French Street                                 Department of Workers' Claims
 Wilmington, DE     19801                                Perimeter Park West
                                                         1270 Louisville Rd, Building C
                                                         Frankfort, KY 40601
 DISTRICT OF COLUMBIA
 DC Department of Employment Services
 Labor Standards Bureau
 Office of Workers' Compensation
 64 New York Avenue, NE, 2nd floor
 Washington, DC 20002




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MARYLAND                                              OHIO
Workers' Compensation Commission                      Workers' Compensation Board
6 North Liberty Street                                30 West Spring Street
Baltimore, MD 21201                                   Columbus, OH 43266-0581


MASSACHUSETTS                                         OKLAHOMA
Department of Industrial Accidents                    Oklahoma Workers' Compensation Court
600 Washington St., 7th Floor                         1915 N. Stiles
Boston, MA 02111                                      Oklahoma City, OK 73105


MICHIGAN                                              SOUTH CAROLINA
Bureau of Workers' Disability Compensation            Workers' Compensation Commission
Department of Labor                                   1612 Marion St.
P.O. Box 30016                                        P.O. Box 1715
201 North Washington Square                           Columbia, SC 29202
Lansing, MI 48909

                                                      SOUTH DAKOTA
MINNESOTA*                                            Division of Labor and Management
Workers' Compensation Division                        Department of Labor
Department of Labor and Industry                      Kneip Building, Third Floor
443 Lafayette Road                                    700 Govenors Drive
St. Paul, MN. 55155                                   Pierre, SD 57501-2277


                                                      UTAH
                                                      Industrial Commission
                                                      160 East 300 South
                                                      Salt Lake City, UT 84111


*   BE ADVISED that your policy only applies to injuries received by employees excluded from
    coverage by the Workers' Compensation statutes under Minn. Stat. 176.041, Subd. 1. You may be
    liable for any claims or expenses occurring outside of the Coverage of this policy. As an employer
    you may be subject to liability for lost wages, medical payments, rehabilitation for work related
    injuries, as well as additional amounts in penalties if workers' compensation coverage is required
    and no policy has been obtained. Also you may be penalized up to $1,000 per week per employee
    for any period of non-insurance pursuant to Minn. Stat. 176.181, Subd. 3.




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    EXHIBIT F
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                                     UMBRELLA POLICY PACKET




     GILLIAN AINSWORTH                                                           May 12, 2016
     PO BOX 982072
     PARK CITY UT 84098-2072



     Effective: 06/17/2016 to 06/17/2017
     GAR 01326 75 75 70U

                                            Important Messages

     Refer to your Declarations Page and endorsements to verify that coverage, limits and other policy
     details are correct and meet your insurance needs. Required information forms are also enclosed
     for your review.

     Please read the enclosed document, “Make Sure Coverage is Adequate: Review Umbrella Exposures
     and Check Policy” for details on updating your policy information.




  This is not a bill. Any premium charge or return for this policy will be reflected on your next regular
 monthly statement. To receive this document and others electronically or to view your policy summary
              online, go to usaa.com. You may also contact us at 1-800-531-USAA (8722).
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           Make Sure Coverage is Adequate: Review Umbrella Exposures and Check Policy

        Our mission is to help you protect your financial future and hard-earned assets with the
        right umbrella coverage. This is why we’re recommending that you periodically review your
        umbrella exposures, coverage, dollar limits and endorsements and make any necessary
        policy updates.
        Your policy coverage should reflect the current circumstances of your household, including
        driver information, as well as vehicle, property or watercraft ownership. To determine if you
        have adequate umbrella policy protection, please review the enclosed:
            •   Declarations Page — the required coverage, limits and endorsements are listed.
            •   Supplemental Declarations Page — you’ll find your umbrella exposures, coverage
                and limits here.
        If an umbrella policy change is necessary, please call us at 1-800-531-USAA (8722). Call us
        at 00-800-531-81110 from Europe (00-800-11-005-4316 from Greece).
        Your other policies may also need updating
        If an umbrella coverage change is needed, updates to other policies may also be necessary.
        Call us at the number above if there’s been a change to the licensed drivers who reside in
        your household. You should also call us if the information for the vehicles, properties and
        watercraft listed on the umbrella policy Supplemental Declarations Page is incorrect or has
        changed.
        Thank you for choosing USAA and taking a moment to make this important policy review.




UMBDV (11-10)                                                                                  94325-1110
                                                                                                Page 1 of 1
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                                                                                 GAR 01326 75 75 70U
                    GARRISON PROPERTY and CASUALTY INSURANCE COMPANY                        DM00000
                                 (A Stock Insurance Company)
                      9800 Fredericksburg Road, San Antonio, Texas 78288
                  PERSONAL UMBRELLA POLICY DECLARATIONS - Renewal

Policy Number: GAR 01326 75 75 70U
                                                      Effective: From 06/17/2016 to 06/17/2017
                                            (12:01 A.M. standard time at Umbrella Base Location)

Named Insured and Mailing Address:                                       Limit              Premium
GILLIAN AINSWORTH                                                    (per occurrence)
PO BOX 982072
PARK CITY UT 84098-2072                         Umbrella Liability      $3,000,000           $210.00

Umbrella Base Location:                                                        Total        $210.00
5479 Luge Ln
Park City, Summit, UT 84098                                          PREMIUM DUE AT INCEPTION



                            SCHEDULE OF UNDERLYING INSURANCE
TYPE OF INSURANCE                                 REQUIRED MINIMUM LIMITS
                                       Bodily Injury    Property      Combined Single
                                                         Damage  OR       Limit
Private Passenger Vehicle Liability    $300,000/$500,000     $100,000     OR            $500,000
Miscellaneous Vehicle Liability        $250,000/$500,000     $100,000     OR            $500,000
Personal Liability                                                                      $300,000
Watercraft/Pers Watercraft Liability                                                    $300,000

USAA requires you to maintain NO LESS THAN the above REQUIRED MINIMUM LIMITS.
See the Required Minimum Insurance Condition in your policy.
Please verify your actual limits and exposures on the attached Supplemental
Declarations.

ENDORSEMENTS:
   Added: NONE
   Remain in Effect (Refer to Previous Policy) - PU-100UT (09-10), PU-2009 (07-09), PU-2011
   (04-11)

INFORMATIONAL FORMS - UMBDV (11-10)




In WITNESS WHEREOF, we have caused this policy to be signed by our President and Secretary at
San Antonio, Texas, on this date 05/12/2016.




Deneen Donnley, Secretary                                                 Alan W. Krapf, President
                                                                                          89853-0513
PU2009D (05-13)                                                                            Page 1 of 1
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                                                                                  GAR 01326 75 75 70U




                              PERSONAL UMBRELLA POLICY
                                Supplemental Declarations

Effective:
From 06/17/2016 to 06/17/2017
(12:01 a.m. standard time at Umbrella Base Location)

Your Umbrella premium is based in part on the following. The limits shown below represent the
lowest policy limits carried.

Please contact us if any changes are needed.

                           DESCRIPTION OF KNOWN EXPOSURES

Motor Vehicles (Includes Private Passenger and Miscellaneous Vehicles):
      Lowest Coverage Limit(s): $300,000/$500,000/$300,000

2006 HONDA ODYSSEY

Properties/Residences:
      Lowest Coverage Limit: $300,000
5479 Luge Ln, Park City, Summit, UT 84098




SUPPDECU (07-09)                                                                       89854-0709
                                                                                       Page 1 of 1
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   EXHIBIT G
    Case 2:18-cv-00720-JNP Document 2-1 Filed 09/12/18 Page 209 of 226




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"+10"+4ÿ1%.ÿ+*&!2+,ÿ&!ÿ,/ÿ3%!+,ÿ&*ÿ6787LÿM<AN=HÿEF@ÿOMH@<EPÿ=DÿQRSRJPÿ*!"+ÿ%+ÿ
 1%2%,7ÿ
       KTÿ ÿ%ÿ!01,(ÿ:1%"+,"**(ÿ1%.ÿ+*&!2+,(ÿ%+ÿ&,/!ÿ1&%1ÿ1%!ÿ%+ÿ&**""%1ÿ
.!ÿU10ÿ*!&2ÿ"+*&!2%,"&+ÿ,/%,ÿ.&01ÿ/%'ÿ%11&.ÿ,/2ÿ,&ÿ,%-ÿ%,"&+ÿ,&ÿ3!'+,ÿ
6787ÿ*!&2ÿ!"'"+4ÿ%+ÿ"+4,"+4ÿ,/ÿ1,/%1ÿ)!047ÿÿÿ
       KVÿ WPÿMÿH@PX?Eÿ=DÿY@D@<AM<EPJÿI=<AXIELÿQRSRÿG<B@PE@AÿEF@ÿY!04ÿ&#,%"+ÿ%+Z&!ÿ
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     Case 2:18-cv-00720-JNP Document 2-1 Filed 09/12/18 Page 219 of 226




       ÿ  !"#ÿ"%&'(ÿ%)*%!ÿ+,'('!"ÿÿ'-*&ÿ!)ÿ)("&.ÿ.ÿ"-'/,!ÿ%&ÿ
012ÿ0ÿ405676881688ÿ012ÿ564976881688ÿ:;ÿ0ÿ26<566ÿ:=0:ÿ8=;>62ÿ?::65ÿ@12@AA656146ÿ:;ÿ:=6ÿ
4;186B?61468Cÿÿÿ
       ÿ  !"#ÿ%)*%!Dÿ"ÿ"%&'(ÿ().DÿE "ÿ+!&Fÿÿ)*!&/)*"Gÿ
H6A61201:8ÿI01@A68:62ÿ0ÿ91;>@1<ÿ012ÿ56497688ÿ@12@AA656146ÿ:;>052Jÿ012ÿ2@856<052ÿ;AJÿ:=6ÿ
5@<=:8ÿ;Aÿ:=6ÿK70@1:@AA8Cÿ
       Lÿ M=6ÿ260:=ÿ;AÿNCOCÿ>08ÿP5;Q@I0:67Rÿ40?862ÿSRÿ:=6ÿ16<7@<61:ÿI@84;12?4:ÿ;Aÿ
H6A61201:8CÿT44;52@1<7RJÿK70@1:@AA8Jÿ08ÿ:=6ÿP0561:8ÿ012ÿ8:0:?:;5RÿU5;1<A?7ÿH60:=ÿ
V6P56861:0:@W68ÿ;AÿNCOCJÿ>656ÿ20I0<62ÿ08ÿ@8ÿI;56ÿ8P64@A@4077RÿS67;>Cÿÿ
ÿ
XYÿÿ[\]^_]\[`ÿabc\de_a_f[ÿ
       gÿ K70@1:@AA8ÿ@14;5P;50:6ÿSRÿ56A656146ÿ:=6ÿ0776<0:@;18ÿ4;1:0@162ÿ@1ÿ077ÿ
P050<50P=8ÿ0S;W6Cÿÿ
       ÿ H6A61201:8ÿ>656ÿ:=6ÿP0561:8ÿ012ÿ4056:09658ÿ;Aÿ:=6@5ÿI@1;5ÿ4=@72561ÿ0:ÿ:=6ÿ
:@I6ÿ;Aÿ:=6ÿ0S;W6h26845@S62ÿ04:8Cÿÿ
       iÿ T8ÿ26845@S62h0S;W6JÿH6A61201:8ÿ916>ÿ;5ÿ8=;?72ÿ=0W6ÿ91;>1ÿ:=6@5ÿI@1;5ÿ
4=@72561ÿ>656ÿ@1W;7W62ÿ@1ÿ:=6ÿP5;4?56I61:Jÿ?86Jÿ012ÿ2@8:5@S?:@;1ÿ;Aÿ201<65;?8ÿ012ÿ76:=07ÿ
25?<8Jÿ@147?2@1<ÿ:=6ÿ2@8:5@S?:@;1ÿ;Aÿ:=686ÿ25?<8ÿ:;ÿNCOCÿ012ÿ;:=65ÿI@1;5ÿ4=@72561Cÿÿ
       Ljÿ k0862ÿ?P;1ÿ:=@8ÿ91;>762<6JÿH6A61201:8ÿ=02ÿ0ÿ2?:Rÿ:;ÿ8?P65W@86ÿ012ÿ02W@86ÿ
:=6@5ÿI@1;5ÿ4=@72561ÿ@1ÿ;5265ÿ:;ÿP56W61:ÿ:=6IÿA5;IÿP5;4?5@1<ÿ012ÿ2@8:5@S?:@1<ÿ76:=07ÿ
25?<8ÿ:;ÿ;:=658ÿ@147?2@1<ÿ:=6ÿH5?<ÿ:=0:ÿ9@7762ÿNCOCÿÿ
                               012345678ÿ57 ÿ ÿ 257 ÿ
                                      3ÿÿÿÿ
      Case 2:18-cv-00720-JNP Document 2-1 Filed 09/12/18 Page 220 of 226




       ÿ ÿ!"#$ÿ%&'ÿ($#)*+,ÿ-.$$%ÿ&ÿÿ!%/ÿ%#ÿ!"01'ÿ%&'0ÿ2'$#0ÿ
3&'*0$ÿ4/ÿ$#%'./'$+ÿ5*'$%'..ÿ$ÿ*)ÿ$.#032$%ÿ#ÿ%&%ÿ%&/ÿ3#!*ÿ'%ÿ'$ÿ2('$+ÿ
3''#$ÿ'$ÿ%&ÿ4%ÿ'$%0%ÿ#.ÿ6787ÿ$ÿ#%&0ÿ2'$#0ÿ'$ÿ#00ÿ%#ÿ"01$%ÿ%&ÿ'$+%'#$ÿ
#.ÿ$+0#!ÿ$ÿ*%&*ÿ0!+7ÿ
       ÿ -.$$%ÿ403&ÿ%&'0ÿ!%'ÿ4/ÿ.'*'$+ÿ%#ÿ0#$4*/ÿ!"01'ÿ$ÿ
1'ÿ%&'0ÿ2'$#0ÿ3&'*0$ÿ$ÿ%('$+ÿ2!0ÿ%#ÿ"01$%ÿ%&ÿ#33!00$3ÿ#.ÿ6787ÿ
#4%'$'$+ÿ$ÿ'$+%'$+ÿ%&ÿ-0!+7ÿÿ
       9ÿ :;ÿ=ÿ>?;@ABÿCDÿE?D?FG=FB;HÿICFG@IBÿJFÿD=JAJFKÿBCÿ>?=;CF=LAMÿ;@N?>OJ;?ÿBP?J>ÿ
2'$#0ÿ3&'*0$,ÿ6787ÿ#4%'$ÿ$ÿ'$+%ÿ%&ÿ-0!+ÿ#4%'$ÿ$ÿ'%0'4!%ÿ4/ÿQ787,ÿ
R7S7,ÿT7S7,ÿ$ÿ57U7ÿ
       Vÿ Sÿÿ0!*%ÿCDÿE?D?FG=FB;Hÿ3#$!3%,ÿ6787ÿ'$+%ÿ%&ÿ-0!+ÿ#4%'$ÿ$ÿ
'%0'4!%ÿ%#ÿ&'2ÿ4/ÿQ787,ÿR7S7,ÿT7S7,ÿ$ÿ57U7ÿÿ
       Wÿ E?D?FG=FB;HÿG?;I>JL?GÿICFG@IBÿ?XPJLJB;ÿ=ÿD=JA@>?ÿBCÿCL;?>O?ÿ?O?Fÿ;AJKPBÿI=>?ÿ
$ÿÿ30*$ÿ$ÿ03(*$ÿ%#ÿÿ+0ÿ%&%ÿ&#)ÿ!%%0ÿ'$'..0$3ÿ%#ÿ%&ÿ
3#$Y!$37ÿÿÿ
       ÿ E?D?FG=FB;HÿICFG@IBZÿ=;ÿG?;I>JL?Gÿ=LCO?Zÿ[=;ÿ?XB>?\?ÿ=FGÿC@B>=K?C@;]ÿ
-.$$%ÿ2$'.%ÿÿ($#)'$+ÿ$ÿ03(*ÿ'$'..0$3ÿ%#)0,ÿ$ÿ'0+0ÿ#.,ÿ%&ÿ
0'+&%ÿ5*'$%'..7ÿ
       ^ÿ _&ÿ%&ÿ#.ÿ6787ÿ)ÿ"0#`'2%*/ÿ3!ÿ4/ÿ%&ÿ$+*'+$%ÿ2'3#$!3%ÿ#.ÿ
-.$$%7ÿS33#0'$+*/,ÿ5*'$%'..,ÿÿ%&ÿ"0$%ÿ$ÿ%%!%#0/ÿa0#$+.!*ÿ-%&ÿ
T"0$%%'1ÿ#.ÿ6787,ÿ)0ÿ2+ÿÿ'ÿ2#0ÿ"3'.'3**/ÿ30'4ÿ4*#)7ÿÿ
                                012345678ÿ57 ÿ ÿ 257 ÿ
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      Case 2:18-cv-00720-JNP Document 2-1 Filed 09/12/18 Page 221 of 226




ÿÿ ÿ!"#$#" % &ÿ
        '(ÿ *+,-./-001ÿ-.345645,/7ÿ89ÿ570757.37ÿ/:7ÿ,++7;,/-4.1ÿ34./,-.7<ÿ-.ÿ,++ÿ
6,5,;5,6:1ÿ,84=7>ÿÿ
        '?(ÿ @1ÿ<7135-87<ÿ-.ÿ/:-1ÿA4B6+,-./CÿD707.<,./1ÿE.7Fÿ45ÿ1:4G+<ÿ:,=7ÿE.4F.ÿ
/:7-5ÿB-.45ÿ3:-+<57.ÿF757ÿ-.=4+=7<ÿ-.ÿ/:7ÿ6543G57B7./CÿG17Cÿ,.<ÿ<-1/5-8G/-4.ÿ40ÿ
<,.;754G1ÿ,.<ÿ+7/:,+ÿ<5G;1Cÿ-.3+G<-.;ÿ/:7ÿ<-1/5-8G/-4.ÿ40ÿ/:717ÿ<5G;1ÿ/4ÿH>I>ÿ,.<ÿ4/:75ÿ
B-.45ÿ3:-+<57.>ÿÿ
        JK(ÿ L,17<ÿG64.ÿ/:-1ÿE.4F+7<;7CÿD707.<,./1ÿ:,<ÿ,ÿ<G/9ÿ/4ÿ.4/ÿB-15765717./ÿ,.9ÿ
MNONPQRSÿUQVSWÿVXRVNMRYRZÿS[NYMÿ\YRXMÿV[YO]MNR^Wÿ]M_Zÿ]NQOYRZWÿ`YS[ÿOQ`ÿNRUXMVN\NRSÿ45ÿ
4/:75ÿ6,57./1ÿ14ÿ/:,/ÿ+,Fÿ7.04537B7./ÿ34G+<ÿ,3/ÿ/4ÿ654/73/ÿH>I>ÿ,.<ÿ/:7ÿ+43,+ÿ34BBG.-/9>ÿ
        J(ÿ a64.ÿ-.045B,/-4.ÿ,.<ÿ87+-70CÿD707.<,./1ÿ857,3:7<ÿ/:7-5ÿ<G/-71ÿ89ÿ0,-+-.;ÿ/4ÿ
QVV_MQSNObÿMNcMNWNRSÿS[NYMÿdRX`ON]ZNÿXUÿS[NYMÿ\YRXMÿV[YO]MNR^Wÿ]NQOYRZÿ`YS[ÿS[NWNÿONS[QOÿ
<5G;1ÿ-.ÿ34BBG.-3,/-4.1ÿF-/:ÿ+,Fÿ7.04537B7./ÿ,.<ÿ6,57./1ÿ65-45ÿ/4ÿ/:7ÿ<7,/:ÿ40ÿH>I>ÿ
        Je(ÿ a64.ÿ-.045B,/-4.ÿ,.<ÿ87+-70CÿD707.<,./1ÿE.7Fÿ45ÿ1:4G+<ÿ:,=7ÿE.4F.ÿ/:,/ÿ
/:7-5ÿ5765717./,/-4.1ÿ/4ÿ/:7ÿ+43,+ÿ34BBG.-/9ÿ+7,<751Cÿ6,57./1Cÿ,.<ÿ+,Fÿ7.04537B7./CÿF757ÿ
0,+17>ÿ
        J(ÿ fNUNR]QRSW^ÿRNZOYZNRSÿ\YWMNcMNWNRSQSYXRWÿ`NMNÿ\Q]NÿSXÿYR]_VNÿ+43,+ÿ
34BBG.-/9ÿ+7,<751Cÿ6,57./1Cÿ,.<ÿ+,Fÿ7.04537B7./Cÿ.4/ÿ/4ÿ/,E7ÿ,3/-4.1ÿ/:,/ÿ/:79ÿ67537-=7<ÿ
,/ÿ/:7ÿ/-B7ÿ/4ÿ87ÿ+7;,++9ÿ,.<ÿ143-,++9ÿ,<=7517ÿ/4ÿ/:7B17+=71ÿ,1ÿF7++ÿ,1ÿ/:7-5ÿB-.45ÿ3:-+<57.>ÿÿ
        Jg(ÿ A4BBG.-/9ÿ+7,<751Cÿ6,57./1Cÿ,.<ÿ+,Fÿ7.04537B7./ÿ<-<ÿ.4/ÿ57,14.,8+9ÿE.4Fÿ
40ÿ45ÿ<-134=75ÿ/:717ÿB-15765717./,/-4.1>ÿÿ
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       ÿ ÿÿ!"#$%ÿ&'((")*$+ÿ#!,!%ÿ#'-#ÿ#.ÿ!)/'-!(!)$%ÿ),ÿ0#*)$*//ÿ,*,ÿ
)'$ÿ$1!ÿ-$*')ÿ$'ÿ2'$!-$ÿ3454ÿ/'(ÿ'6$*)*)7ÿ),ÿ*)7!$*)7ÿ$8!ÿ9 "74ÿÿ
       :ÿ ;<ÿ>ÿ?@<ABCÿDEÿF@E@GH>GC<IÿJDGHAJCKÿLMNMÿOGP@<C@HÿCQ@ÿF?APÿDRC>OG@Hÿ>GHÿ
,*$*6"$!,ÿ$'ÿ8*(ÿ6+ÿ&454%ÿS44%ÿT44%ÿ),ÿ04U4ÿÿ
       ÿ F@E@GH>GC<IÿH@<J?OR@HÿJDGHAJCÿ@VQOROC<ÿ>ÿE>OBA?@ÿCDÿDR<@?W@ÿ@W@Gÿ<BOPQCÿJ>?@ÿ
),ÿÿ-!#!)!ÿ),ÿ!-1#!)!ÿ$'ÿÿ,!7!!ÿ$8$ÿ8'.!,ÿ"$$!ÿ*),*//!!)-!ÿ$'ÿ$8!ÿ
-')!X"!)-!4ÿÿÿ
       ÿ F@E@GH>GC<IÿJDGHAJCKÿ><ÿH@<J?OR@Hÿ>RDW@KÿY><ÿ@VC?@Z@ÿ>GHÿDAC?>P@DA<Mÿ
9!/!),)$ÿ()*/!$!,ÿÿ1)'.*)7ÿ),ÿ!-1#!ÿ*),*//!!)-!ÿ$'.,%ÿ),ÿ,*!7,ÿ'/%ÿ$8!ÿ
 *78$ÿ0#*)$*//4ÿ
       [ÿ \8!ÿ,!$8ÿ'/ÿ3454ÿ.ÿ2']*($!#+ÿ-"!,ÿ6+ÿ$8!ÿ)!7#*7!)$ÿ
(*!2!!)$$*')ÿ'/ÿ9!/!),)$4ÿ--',*)7#+%ÿ0#*)$*//%ÿÿ$8!ÿ2!)$ÿ),ÿ$$"$'+ÿ
^ ')7/"#ÿ9!$8ÿT!2!!)$$*_!ÿ'/ÿ3454%ÿ.!!ÿ,(7!,ÿÿ*ÿ('!ÿ2!-*/*-##+ÿ6!#'.4ÿÿ
`aÿÿcdefghciijÿ̀ceklgfmnÿcopqrqpjÿsÿnpgqopÿiqcdqiqpjÿ
       tÿ 0#*)$*//ÿ*)-'2'$!ÿ6+ÿ !/!!)-!ÿ$8!ÿ##!7$*')ÿ-')$*)!,ÿ*)ÿ##ÿ
2728ÿ6'_!4ÿÿ
       ÿ ÿ,!-*6!,ÿ*)ÿ$8*ÿ&'(2#*)$%ÿ9!/!),)$ÿ-$*')ÿ),ÿ-$*_*$*!ÿ.!!ÿ
6)'(##+ÿ,)7!'"4ÿ
       uÿ F@E@GH>GC<ÿY@?@ÿ>Y>?@ÿDEÿCQ@O?ÿJQOBH?@GI<ÿv?DJA?@Z@GCKÿA<@Kÿ>GHÿ
,*$*6"$*')ÿ'/ÿ,)7!'"ÿ),ÿ#!$8#ÿ,"7%ÿ*)-#",*)7ÿ$8!ÿ,*$*6"$*')ÿ'/ÿ$8!!ÿ,"7ÿ$'ÿ

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     Case 2:18-cv-00720-JNP Document 2-1 Filed 09/12/18 Page 223 of 226




ÿÿ!"#ÿ$%#ÿ&!%'#"(ÿÿ!ÿ)*&!ÿ&%+%%")ÿ%&'*"ÿÿ!%,!ÿ",#""ÿ-ÿ#%).ÿ-ÿ
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        /0ÿ 2"&*)"ÿ3"-")ÿ&%)ÿÿ&%+%%")ÿ4"#"ÿ5#$''6ÿ,"#*)ÿ!"6ÿ
#"ÿ'%5'"ÿ-#ÿ!"ÿ4#,-*'ÿ"!ÿ-ÿÿ4!"!"#ÿ#ÿÿ!"6ÿ"7"#&%)"ÿ#")5'"ÿ&#"ÿ
ÿ
8889ÿÿÿ;<=><?8@Aÿ
        B0ÿ C)ÿÿ%#"&ÿÿD#7%$"ÿ&*)"ÿ-ÿ!"ÿ&)ÿÿ$%))%)ÿ-ÿ!"ÿ3"-")(ÿ
E'%%--)ÿ!+"ÿ)*--"#"ÿ)%,%-%&ÿ,""#'ÿÿ)D"&%'ÿ$,")ÿ%&'*%,ÿ5*ÿÿ'%$%"ÿ
 (ÿ!"ÿ4#,-*'ÿ"!ÿ-ÿ!"%#ÿ!"%#ÿ
ÿ
8F9ÿÿÿG<H<IJ>ÿ
        0ÿ C)ÿÿ%#"&ÿÿD#7%$"ÿ#")*'ÿ-ÿ!"ÿ-#")%ÿ",'%,"ÿ&)ÿÿ
$%))%)ÿÿ!"#ÿ-%'*#")ÿ-ÿ!"ÿ3"-")(ÿE'%%--)ÿ!+"ÿ)*)%"ÿ$,")ÿ
%&'*%,(ÿ5*ÿÿ'%$%"ÿ(ÿ!"ÿ-''4%,Kÿ
           ÿ""#'ÿ$,")ÿ-#ÿ!"ÿ4#,-*'ÿ"!ÿ-ÿÿ%ÿÿ#")5'"ÿ)*$Lÿÿ
           5ÿC6ÿÿ''ÿ4#,-*'ÿ"!ÿ$,")ÿ-#ÿ!"ÿ"!ÿ-ÿLÿ
           &ÿ*#+%+'ÿ3$,")ÿ-#ÿLÿ
           ÿD"&%'ÿ3$,")ÿ-#ÿLÿ
           "ÿM!"ÿ'))ÿ-ÿ&#"(ÿ&$-#(ÿÿ)&%"6ÿ-ÿLÿ
           -ÿ3$,")ÿ-#ÿ"$%'ÿ%)#"))Lÿ
           ,ÿD"&%'ÿ$,")ÿ-#ÿ$"%&'(ÿ-*"#'(ÿ&#"$%(ÿÿ#"'"ÿ"7D")")ÿ
              %&*##"(ÿ%ÿÿ#")5'"ÿ)*$Lÿÿ
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     Case 2:18-cv-00720-JNP Document 2-1 Filed 09/12/18 Page 224 of 226




          ÿ!ÿ# $ %&ÿ%'('ÿ( )ÿ*+,,-,,,,,ÿ&ÿ'./'#ÿ01'ÿ2'ÿ+ÿ#&13'4ÿ
             /'&/ )(ÿ(1ÿ5/!ÿ67ÿ10ÿ(ÿ8(ÿ5/!&ÿ10ÿ93!ÿ:'1#/';ÿ
          ÿ:'<ÿ)#ÿ1&(<=/#%$)(ÿ)('&(-ÿ(1ÿ(ÿ>()(ÿ!!1?#ÿ@4ÿ!?;ÿÿ
          =ÿ91&(-ÿ>)&&-ÿ)#ÿ((1')4&Aÿ0&ÿ(1ÿ(ÿ>()(ÿ!!1?#ÿ@4ÿ!?;ÿÿ
          Cÿ:/)(3ÿ)#ÿ>$!'4ÿ# $ %&;ÿ)#-ÿ
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